                                                          EXHIBIT
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                                                      Page 1                                                  Page 3
                                                                    1         FEDERAL STIPULATIONS
               UNITED STATES DISTRICT COURT                         2
               EASTERN DISTRICT OF NEW YORK
               ------------------x                                            IT IS HEREBY STIPULATED AND AGREED
                                     :2-19-CV-07271                 3     by and between the attorneys for the
               MARIA SUAREZ,                                        4     respective parties herein, that filing
                                     :                              5     and sealing be and the same are hereby
                          Plaintiff,
                                     :                              6     waived.
                    -against-                                       7
                                     :                              8         IT IS FURTHER STIPULATED AND AGREED
               SOUTHERN GLAZER'S WINE AND SPIRITS
                                                                    9     that all objections, except as to the form
               OF NEW YORK, LLC,                :
                          Defendants. :                            10     of the question, shall be reserved to the
               ------------------x                                 11     time of the trial.
                          200 Broadhollow Road                     12
                          Melville, New York 11747
                                                                   13         IT IS FURTHER STIPULATED AND AGREED
                         October 25, 2022                          14     that the within deposition may be sworn to
                         10:20 a.m.                                15     and signed before any officer authorized to
                                                                   16     administer an oath, with the same force and
                                                                   17     effect as if signed and sworn to before the
                                                                   18     Court.
                                                                   19
               VIDEOCONFERENCE EXAMINATION BEFORE TRIAL of         20
               SOUTHERN GLAZER'S WINE AND SPIRITS OF NEW YORK,
               LLC, the Defendant herein, by ELIZABETH TOOHIG,
                                                                   21
               taken by the Plaintiff, pursuant to Order, before   22
               a Stenotype Reporter and Notary Public within and   23
               for the State of New York.                          24
                                                                   25


                                                      Page 2                                                  Page 4
           1          E. TOOHIG                                     1             E. TOOHIG
           2                                                        2       E L I Z A B E T H T O O H I G, after first
                   A P P E A R A N C E S:
           3
                                                                    3   having been duly sworn by David P. Yuni, a
           4    MOSER LAW FIRM, P.C.                                4   Stenotype Reporter and Notary Public in and for
                Attorneys for Plaintiff                             5   the State of New York, was examined and testified
           5        5 East Main Street                              6   as follows:
                    Huntington, New York 11743
           6
                                                                    7   EXAMINATION BY MR. MOSER:
                BY: STEVEN J. MOSER, ESQ.                           8       Q State your name for the record.
           7                                                        9       A Elizabeth Toohig.
           8                                                       10       Q What is your current address?
                CONSTANGY, BROOKS, SMITH, AND PROPHETE, LLP
                                                                   11       A 1459 Meadowbrook Road, Merrick, New
           9    Attorneys for Defendant
                    101 Sixth Avenue                               12   York 11566.
          10        New York, New York 10013                       13           MR. MOSER: Good morning Ms. Toohig.
          11    BY: ANJANETTE CABRERA, ESQ.                        14       I am Steven Moser, an attorney, and I
          12
                                                                   15       represent Maria Suarez in a lawsuit against
          13
          14                                                       16       Southern Glazer's Wine and Spirits of New
          15                                                       17       York. I am going to ask you some questions
          16                                                       18       today. If for any reason you don't
          17                                                       19       understand a question of mine please do not
          18
          19
                                                                   20       answer it. Instead let me know. I will
          20                                                       21       repeat it or rephrase it as many times as
          21                                                       22       necessary so that you understand, is that
          22                                                       23       okay?
          23
          24
                                                                   24           THE WITNESS: Yes.
          25                                                       25       Q Have you ever testified under oath


                                                                                         1 (Pages 1 to 4)
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           1              E. TOOHIG                               1             E. TOOHIG
           2   before today?                                      2       Q What other facilities?
           3       A Yes.                                         3       A There is the Brooklyn facility, and
           4       Q On how many occasions?                       4   then there was a Linden facility.
           5       A I don't recall.                              5       Q How many employees worked at the
           6       Q Can you approximate?                         6   Brooklyn facility as of December -- withdrawn.
           7       A Probably more than 10. Less than 25.         7   Approximately how many individuals were employed
           8       Q Is there any reason why you cannot           8   in 2019 at the Brooklyn facility?
           9   testify truthfully and accurately today?           9       A Roughly 25 trucks got dispatched out
          10       A No.                                         10   of there so two per truck. So call it 60.
          11       Q Are you employed?                           11       Q How many employees worked at the
          12       A Yes.                                        12   Linden facility in 2019 approximately?
          13       Q Who are you employed by?                    13       A Roughly 100.
          14       A A company called Sodexo.                    14       Q Is that Linden, New Jersey?
          15       Q What do you do for them?                    15       A Yes.
          16       A I am a senior director of human             16       Q How many people worked at the Syosset
          17   resource business partner.                        17   facility?
          18       Q How long have you been working for          18       A A rough guess is 300.
          19   them?                                             19       Q For how long were you the director of
          20       A Three years.                                20   HR?
          21       Q What date did you start working for         21       A In my last title?
          22   Sodexo approximately?                             22       Q Yes.
          23       A September 3, 2019.                          23       A It was less than a year at Southern.
          24       Q Who was your employer before September      24   A year?
          25   3, 2019?                                          25       Q And what was the title that you had


                                                    Page 6                                                   Page 8
           1              E. TOOHIG                               1              E. TOOHIG
           2       A Southern Glazer's Wine and Spirits.          2   prior to being the director of Human Resources?
           3       Q And when was the last day that you           3       A Vice-president.
           4   worked for Southern Glazer's Wine and Spirits?     4       Q Is that VP of Human Resources?
           5       A Actively employed was December 31,           5       A Correct.
           6   2018. I worked as a consultant up through March    6       Q For a particular geographic area?
           7   31, 2019.                                          7       A For the state of New York.
           8       Q As of December 3, 2018 what was your         8       Q For how long did you have the title of
           9   job title?                                         9   VP of Human Resources?
          10       A Director of Human Resources.                10       A About five years.
          11       Q Was that for a particular geographic        11       Q Approximately what dates did you hold
          12   area?                                             12   that title?
          13       A Responsible for New York.                   13       A Approximately -- I honestly don't
          14       Q For the entire state of New York?           14   recall.
          15       A Actually at that point, no. Just the        15       Q Okay. So you became the director of
          16   metro area.                                       16   HR on or about December 31, 2018, correct?
          17       Q What did the metro area include?            17       A No. I left the company in December
          18       A Long Island, New York City, the             18   31, 2018.
          19   boroughs, New Jersey.                             19       Q I apologize. So you received -- you
          20       Q Did that include the warehouse and          20   were the director of HR for about a year?
          21   offices located in Syosset.                       21       A Yes.
          22       A Yes.                                        22       Q And that would mean that approximately
          23       Q Did that include employees at any           23   from December of 2017 to approximately December of
          24   other facility?                                   24   2018 is when you were the director of Human
          25       A Yes.                                        25   Resources?


                                                                                        2 (Pages 5 to 8)
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           1               E. TOOHIG                                 1            E. TOOHIG
           2       A Yes.                                            2   she resigned?
           3       Q What title did you have before being            3       A Maybe in 2016.
           4   the director of -- becoming the vice-president of     4       Q Why did she resign?
           5   Human Resources?                                      5       A Different job opportunity closer to
           6       A Director of Human Resources.                    6   home.
           7       Q When you look at the time period that           7       Q Where was home?
           8   you were the VP of Human Resources it ended           8       A In Queens, I believe.
           9   approximately in December of 2017. Did you hold       9       Q Who was that job opportunity with?
          10   that title from approximately December of 2012 to    10       A I don't recall.
          11   approximately December of 2017?                      11       Q So as the vice-president of HR
          12       A Probably. I mean approximately. I              12   throughout the state of New York were you
          13   don't remember when I got promoted.                  13   primarily responsible for all of the hiring?
          14       Q What were your duties as the                   14       A Hiring reported up through me.
          15   vice-president of Human Resources?                   15       Q And how about performance of the
          16       A HR execution throughout the state of           16   evaluations of employees?
          17   New York.                                            17       A All reported up through me.
          18       Q Can you explain more specifically what         18       Q How about disciplinary actions?
          19   you mean by HR execution?                            19       A The same.
          20       A We were responsible for all of the             20       Q How about termination or layoffs? Was
          21   talent planning, talent acquisition, succession      21   that something that reported up to you as well?
          22   planning, performance management, labor relations,   22       A Yes.
          23   learning and performance.                            23       Q Who did you report to as director of
          24       Q Were you personally responsible for            24   Human Resources?
          25   that?                                                25       A Operationally I reported up through


                                                    Page 10                                                   Page 12
           1             E. TOOHIG                                   1              E. TOOHIG
           2       A Yes.                                            2   Larry Goodrich. I forgot the name for a minute.
           3       Q How many people did you have in your            3   And from an HR perspective I reported up to Corey
           4   department?                                           4   Cooper.
           5       A As the VP? Nine approximately.                  5       Q When you say you operationally
           6       Q Was one of the individuals who                  6   reported up to Larry Goodrich what do you mean by
           7   reported to you Dina Wald Margolis?                   7   operationally?
           8       A Yes.                                            8       A For the day-to-day running of the
           9       Q Who were the other individuals who              9   organization and the business I supported Larry
          10   reported to you?                                     10   Goodrich and the New York State on what needed to
          11       A During which time frame?                       11   get executed against from an HR standpoint
          12       Q Well, without getting into their               12   anything that I was doing from an HR capacity
          13   specific titles what were their roles?               13   would be run through Corey Cooper.
          14       A There was a talent acquisition so a            14       Q What was Larry Goodrich's title?
          15   recruiter. There was a leave benefits                15       A General manager.
          16   administrator. There were generalists. I think       16       Q Of a particular area?
          17   those were the main titles. And a mature admin.      17       A Of New York.
          18       Q What title did Dina Wald Margolis              18       Q Door the entire state of New York?
          19   have when she worked under you?                      19       A Yes.
          20       A She was a generalist.                          20       Q Did that include the Linden facility?
          21       Q For how long was she a generalist?             21       A Yes.
          22       A She was employed prior to me, and then         22       Q Did that include the upstate
          23   she resigned -- I don't know exactly when, but she   23   facilities as well?
          24   was a generalist throughout that time period.        24       A Yes.
          25       Q Can you approximate the date on which          25       Q So besides Linden, Brooklyn, Syosset,


                                                                                        3 (Pages 9 to 12)
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           1             E. TOOHIG                                   1             E. TOOHIG
           2   and the upstate New York facility, was Larry          2       Q How many employees in total worked
           3   Goodrich the general manager of any other             3   for Southern at those locations approximately?
           4   locations?                                            4       A Again, approximately it was maybe
           5       A No. Upstate is more than one                    5   1,500.
           6   location, though.                                     6       Q Were you responsible for the
           7       Q How many locations were there upstate?          7   development of employment handbooks for employees
           8       A I believe there are five or more. I             8   at Southern Glazer's Wine and Spirits location in
           9   don't know what it is currently.                      9   Syosset?
          10       Q Corey Cooper, what was his title?              10       A No.
          11       A I believe it was VP of HR.                     11       Q Who was responsible for that?
          12       Q Where was his office?                          12       A Corporate headquarters.
          13       A In Florida.                                    13       Q Did you have knowledge of what was in
          14       Q Where is the main corporate office of          14   the employee handbooks?
          15   Southern Wine and Spirits?                           15       A Yes.
          16       A In Florida.                                    16       Q Were you responsible for implementing
          17       Q Do you understand for the purposes of          17   the policies that were contained in the employee
          18   today's deposition that when I say Southern I mean   18   handbooks?
          19   Southern Glazer's Wine and Spirits of New York and   19       A Yes.
          20   Southern Glazer's Wine and Spirits?                  20       Q You earlier testified that you gave
          21       A Yes.                                           21   sworn testimony anywhere between 10 and 25 times.
          22       Q Okay. Were they previously known by            22   With regard to what? Can you be more specific?
          23   another name?                                        23       A As to when I gave sworn testimony?
          24       A Southern Wine and Spirits.                     24       Q Yes.
          25       Q Southern Wine and Spirits?                     25       A Jury duty service. I have been


                                                     Page 14                                                  Page 16
           1              E. TOOHIG                                  1             E. TOOHIG
           2       A Yes.                                            2   deposed a couple of other times. I am trying to
           3       Q When were they known as Southern Wine           3   think what other times I have been. Like when I
           4   and Spirits?                                          4   hold my hand up and been sworn quite a few times.
           5       A Prior to the merger with Glazer's               5       Q How many times have you been deposed?
           6   which a rough guess was in 2015? And prior to         6       A I don't know. Maybe ten times.
           7   that when they purchased Premiere which was long      7       Q Were all of those in regard to
           8   before I started to work for the company.             8   lawsuits?
           9       Q As the VP of HR did you have any role           9       A No.
          10   in the development of employment policies and        10       Q So tell me about the times that you
          11   procedures?                                          11   were deposed ten times. What did those concern?
          12       A Yes.                                           12       A So there were lawsuits. I was also
          13       Q What was that role?                            13   deposed on investigatory matters that were not
          14       A I was responsible for establishing all         14   lawsuit related.
          15   policies and procedures if they were not created,    15       Q Who deposed you on investigatory
          16   or implementing any policy and procedure that was    16   matters?
          17   announced out by our corporate headquarters.         17       A Internal counsel.
          18       Q These policies and procedures applied          18       Q On how many different occasions were
          19   to all -- withdrawn. Let's go back to the time       19   you deposed by internal counsel?
          20   when you were VP of HR. I want to clarify what       20       A Just a handful of times. I have been
          21   facilities you were responsible for in terms of HR   21   in the industry quite a long time. I may look
          22   at that time.                                        22   younger than I am actually.
          23       A Long Island. So it is Syosset,                 23       Q So let's talk about the time period
          24   Brooklyn, Linden, and all five or six locations in   24   that you were employed by Southern. How many
          25   upstate New York.                                    25   times were you deposed when you were employed by


                                                                                       4 (Pages 13 to 16)
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           1             E. TOOHIG                                   1             E. TOOHIG
           2   Southern?                                             2        A That's the employee handbook for
           3       A Once by you.                                    3   Southern Wine and Spirits at the time dated July
           4       Q Yes. I remember. Besides that?                  4   30, 2012.
           5       A Maybe three or four times.                      5        Q Did this employee handbook apply to
           6       Q Do you remember what these depositions          6   Maria Suarez?
           7   concerned?                                            7        A Yes.
           8       A It was a long time ago so I don't               8        Q Are you familiar with the reasons why
           9   really recall.                                        9   Maria Suarez no longer works for Southern?
          10       Q Were you deposed with regard to any            10        A Vaguely. I mean, I have memories of
          11   discrimination lawsuit that were brought against     11   it.
          12   Southern other than the one that I deposed you on?   12        Q What is your memory of why Maria
          13       A Can you repeat that?                           13   Suarez no longer works at Southern?
          14       A I don't recall honestly. I am trying           14        A There was a request from corporate to
          15   to think of the situations that I was deposed.       15   reduce our operating expenses so we had to take a
          16       Q When you were the VP of Human                  16   hard look at the business both from a sales,
          17   Resources who was primarily responsible for making   17   commercial, and operations standpoint and come up
          18   sure that Southern's discrimination policies --      18   with operational savings.
          19   withdrawn. When you were the VP of HR for            19        Q Who from corporate gave the
          20   Southern who was primarily responsible for making    20   instructions that operating expenses had to be
          21   sure that Southern's policies against                21   reduced?
          22   discrimination in the workplace were followed?       22        A It was above my pay grade so I believe
          23       A I was.                                         23   it came from the owners of the company.
          24       Q Do you know on individual by the name          24        Q How did you learn about the plan to
          25   of Shaneka Jean Charles?                             25   reduce operating expenses?


                                                     Page 18                                                  Page 20
           1              E. TOOHIG                                  1             E. TOOHIG
           2        A Yes.                                           2       A From the general manager.
           3        Q Who is she?                                    3       Q Was that Kevin Randall?
           4        A A former employee of mine.                     4       A No.
           5        Q What was her title?                            5       Q Who was the general manager?
           6        A Generalist.                                    6       A I believe it was Martin Crane at the
           7        Q What were her duties?                          7   time.
           8        A She was the generalist for the                 8       Q Martin Crane was the general manager
           9   Delivery Department so she responded to drivers'      9   for what geographic area?
          10   concerns, management concerns, othersaw the          10       A The state of New York.
          11   disciplinary process.                                11       Q So that would include the Linden, New
          12            (Whereupon a handbook was marked as         12   Jersey, location, all of Long Island, and all of
          13        Plaintiff's Exhibit 8 for Identification, as    13   upstate New York?
          14        of this date).                                  14       A Yes.
          15        Q I am going to show you what has been          15       Q Tell me how you learned of the goal of
          16   marked as Plaintiff's Exhibit 8 for                  16   reducing operating expenses?
          17   identification. I am going to represent you that     17       A To the best of my recollection it was
          18   this was actually produced in another lawsuit, in    18   at a leadership meeting. Mr. Crane brought all of
          19   the prior lawsuit that I deposed you on. The         19   the leaders from each respective area into a room,
          20   first page is Bate stamped SWS000102, and the last   20   gave us what our target was of reduction of S, G,
          21   page is Bate stamped SWS000171. Do you see that?     21   and A. That's a profit and loss statement term.
          22        A Yes.                                          22   It means earning profits. We have to come out of
          23        Q Do you recognize this documents?              23   there so it is not a revenue reduction. It is
          24        A Yes.                                          24   reduction in operating costs.
          25        Q What is this document?                        25       Q Do you remember anything else about


                                                                                      5 (Pages 17 to 20)
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           1             E. TOOHIG                                   1              E. TOOHIG
           2   that meeting?                                         2       A I would have had -- we would have had
           3       A We had many, many meetings to go over           3   the overall spreadsheets as to the numbers and the
           4   where it was -- where we had to make documents        4   dollars, the positions that were going, the
           5   from, how we were going to come up with the number    5   reasons, and justifications. We would have put
           6   that we needed to get back to.                        6   together a list of all of the employees being
           7       Q And what was the number that you had            7   recommended along with all of their information
           8   to come up with?                                      8   and demographics to review. All of that would
           9       A I don't recall.                                 9   have been submitted to legal.
          10       Q Who would know more about the need to          10       Q When you say to legal what do you
          11   reduce operating expenses that led to Ms. Suarez'    11   mean?
          12   separation from the company? You or Kevin            12       A We have a Legal Department. We had a
          13   Randall?                                             13   Legal Department at Southern Glazier's that we
          14       A I would say it is equal.                       14   would have presented the information to, and they
          15       Q Did you have any conversations with            15   would have reviewed it for any additional
          16   Mr. Randall about the operating expense reduction?   16   concerns.
          17       A Yes.                                           17       Q Can you approximate how many documents
          18       Q On how many occasions?                         18   were generated with regard to this process?
          19       A Quite a few.                                   19       A I couldn't. I take a lot of notes so
          20       Q Can you approximate?                           20   --
          21       A No. It was an intense process, lots            21           MR. MOSER: Mark this as Plaintiff's
          22   of meetings, lots of conversations. Lots of          22       Exhibit 9.
          23   decisions being made. We don't take eliminating      23           (Whereupon a confidential lease and
          24   peoples' roles lightly. It was a lot of              24       severance agreement was marked as
          25   conversations.                                       25       Plaintiff's Exhibit 9 for Identification, as


                                                    Page 22                                                   Page 24
           1             E. TOOHIG                                   1              E. TOOHIG
           2       Q How many people had to be eliminated            2       of this date).
           3   as part of that operating expense reduction?          3            MS. CABRERA: Counsel has shown me
           4       A We were not given a people target. We           4       what was marked as Exhibit Number 9, and I
           5   were given a number target.                           5       just note for the record that it does not
           6       Q What number target were you given?              6       appear to be a document that has been
           7       A I don't recall.                                 7       exchanged in discovery. It is not bearing
           8       Q Were there any documents generated              8       any Bate stamps from either the plaintiff or
           9   with regard to -- withdrawn. When was this cost       9       the defendant. I am looking at it right
          10   operating reduction -- withdrawn. When was this      10       now. I don't recognize it as something that
          11   earning cost reduction plan put into effect?         11       has been shared in this case.
          12       A I don't remember a specific time               12            MR. MOSER: Okay. I believe that this
          13   frame.                                               13       has been exchanged; however, to the extent
          14       Q As a result of that earning cost               14       that it has not been exchanged we will
          15   reduction were any individuals other than Ms.        15       provide a copy today.
          16   Suarez let go?                                       16            MS. CABRERA: I will make the same
          17       A Yes.                                           17       note about Exhibit number 8. While it is
          18       Q How many others?                               18       bearing Bate stamp numbers apparently this
          19       A I don't recall a specific number.              19       is a document from a different case, and not
          20       Q Were any records kept with regard to           20       this case. It has not been exchanged in
          21   the decision making process on who you decided       21       discovery to my knowledge in this case
          22   would stay and who would go?                         22       either.
          23       A Yes.                                           23            MR. MOSER: Again, we will provide a
          24       Q What records were kept with regard to          24       copy today of everything.
          25   that process?                                        25       Q Do you recognize what has been marked


                                                                                       6 (Pages 21 to 24)
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           1             E. TOOHIG                                 1              E. TOOHIG
           2   as Plaintiff's Exhibit 9 for identification?        2       Q And then there is age?
           3       A It appears to be the Sodexo -- sorry,         3       A Yes.
           4   wrong company. Southern Glazer's standard           4       Q And then there is selected yes or no?
           5   confidential release and severance agreement.       5       A Yes.
           6       Q I will direct you to page 7 of the            6       Q Okay. What does that mean?
           7   agreement. Do you see a name on that page?          7       A This means no, they were not selected?
           8       A Yes.                                          8       Q For termination?
           9       Q Is that from Maria Suarez?                    9       A Correct.
          10       A It appears to have her signature.            10       Q Yes would mean they were selected for
          11       Q Did you prepare this document?               11   termination of this cost reduction initiative?
          12       A I don't recall.                              12       A Yes.
          13       Q Was it part of your responsibilities         13       Q Do you know how many people are on
          14   to prepare confidential release and severance      14   this list?
          15   agreements?                                        15       A No.
          16       A Yes.                                         16       Q Do you know what geographic area was
          17       Q Did you provide this document to Maria       17   covered by this?
          18   Suarez?                                            18       A No.
          19       A I don't recall.                              19       Q Do you know if it was the entire state
          20       Q Was it part of your responsibilities         20   of New York?
          21   -- withdrawn. Did you customarily provide these    21       A I don't recall.
          22   documents to employees that were going to be       22       Q Who would know that?
          23   released?                                          23       A The legal team would put it together.
          24       A Yes.                                         24   I don't remember. It was a while ago.
          25       Q Besides you was there anyone else who        25       Q Can you tell from looking at this how


                                                   Page 26                                                  Page 28
           1              E. TOOHIG                                1              E. TOOHIG
           2   customarily provided these confidential release     2   many people were selected for separation from
           3   and severance agreements to employees who were      3   employment?
           4   going to be released?                               4       A It looks like four. No, five.
           5        A Yes.                                         5       Q Okay. Was Maria Suarez selected as
           6        Q Who else would have done that?               6   one of the individuals to be let go?
           7        A Some of the other generalists would          7       A Based on the job titles I would assume
           8   also have responsibilities.                         8   yes.
           9        Q You don't know if either you or one of       9       Q Do you know whether she was one of the
          10   the generalists was the one who provided this to   10   individuals selected to be let go based upon your
          11   Maria Suarez?                                      11   personal knowledge?
          12        A I don't recall.                             12       A Yes.
          13        Q I am going to show you pages 8 and 9        13       Q Okay. Where do you see Maria Suarez
          14   of this document, and please review it. I will     14   on this list of titles, ages, and whether they
          15   have some questions for you about it.              15   were selected?
          16        Q Did you have any role in preparing          16       A Well, these are really job
          17   Exhibit A?                                         17   classifications and necessarily actual titles. So
          18        A No.                                         18   I don't remember. It was a long time ago.
          19        Q Who prepared Exhibit A?                     19       Q Do you know what Ms. Suarez' title was
          20        A A legal team.                               20   when she was let go?
          21        Q This list of titles that we see here,       21       A I believe that it was warehouse -- WMI
          22   it says -- I am referring to page 8. If you look   22   administrator.
          23   at the left-hand side about one-third down there   23       Q Is WMI administrator listed anywhere
          24   is a column that says job title, correct?          24   on Exhibit A?
          25        A Yes.                                        25            MS. CABRERA: Objection. She said


                                                                                    7 (Pages 25 to 28)
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                                                    Page 29                                                  Page 31
           1             E. TOOHIG                                  1             E. TOOHIG
           2       these are not job titles. She said they are      2   elimination?
           3       classifications so I don't know what you are     3       A Operational leadership.
           4       asking her.                                      4       Q Who is that?
           5       Q Is WMI administrator listed anywhere           5       A Kevin. I don't remember his last
           6   on Exhibit A?                                        6   name. Roy Kohn. Oh, it was Kevin Randall.
           7       A No.                                            7       Q How many individuals were originally
           8       Q So a total of five people were let go          8   recommended for elimination?
           9   as part of this cost reduction initiative?           9       A I don't recall.
          10       A In operations.                                10       Q And describe for me what you did after
          11       Q How many other people were let go?            11   Roy Kohn and Kevin Randall recommended certain
          12           MS. CABRERA: Objection. It was asked        12   individuals for elimination?
          13       and answered. You can answer it again.          13       A We would review what the job
          14       A I don't recall, but you are only              14   descriptions, where the job responsibilities,
          15   looking at operations. There was commercial as      15   whether or not they were going to be reassigned to
          16   well.                                               16   someone else, or whether they were actually being
          17       Q When we say operations what does that         17   eliminated and no longer necessary. Then I would
          18   involve?                                            18   look at all of the demographics of the employees,
          19       A Warehouse, distribution, drivers,             19   look at the EEO components, and make sure there
          20   clerical.                                           20   was no disparate treatment.
          21       Q And when you say commercial --                21       Q What would happen if you found that
          22       A Yes.                                          22   there was disparate treatment or some other
          23       Q What did commercial entail?                   23   regularity?
          24       A Sales, marketing.                             24       A I would oppose the elimination.
          25       Q Who was responsible -- you don't have         25       Q Did you oppose the elimination of any


                                                    Page 30                                                  Page 32
           1             E. TOOHIG                                  1             E. TOOHIG
           2   any idea how many people were let go in sales and    2   individual?
           3   marketing?                                           3       A In this particular case?
           4       A I don't recall.                                4       Q Yes.
           5       Q As a result of letting these five              5       A Not that I recall.
           6   people go in operations how much money was saved?    6       Q Is this something that you would have
           7       A I don't recall.                                7   remembered doing?
           8       Q You were involved in the selection of          8       A I have done it on quite a few
           9   the five individuals that were let go?               9   occasions so I don't know that it would stand out
          10       A Yes.                                          10   in my memory on this particular case.
          11       Q Did you have any role in the selection        11       Q Okay. But to the best of your
          12   of Maria Suarez as one of those five individuals?   12   recollection you did not oppose the elimination of
          13       A Can you redefine the question?                13   any individuals who was recommended for
          14       Q Well, do you know how you were                14   elimination as part of this particular cost
          15   involved in the selection of the five individuals   15   reduction program?
          16   who were let go?                                    16       A To the best of my recollection.
          17       A I reviewed each individual that was           17       Q And so do you know how Mr. Randall and
          18   being recommended for termination. For              18   Mr. Kohn selected Maria Suarez for elimination?
          19   elimination, not really termination. I reviewed     19       A Not that I recall.
          20   them under the business case, under what was the    20       Q So when you received the
          21   rationale. How the work would be directed, if       21   recommendations you had the option to either
          22   there was additional work that was going to be      22   challenge the recommendation or to approve it?
          23   done. Making sure that there was no -- external     23           MS. CABRERA: Objection to the form of
          24   factors influencing their decision.                 24       the question.
          25       Q Who recommended these individuals for         25       Q What options did you have when these


                                                                                      8 (Pages 29 to 32)
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                                                     Page 33                                                  Page 35
           1            E. TOOHIG                                    1              E. TOOHIG
           2   individuals were recommended for elimination?         2       Q Would there be E-mails between you and
           3       A Well, I would review the recommended            3   members of the Legal Department as well?
           4   business case, make sure it was a justified case.     4       A I would assume so.
           5   I would review it with the legal team to make sure    5       Q When we talk about the Legal
           6   there was no disparate treatment of them. Then I      6   Departments we are talking about the in-house
           7   would either approve it and go forward with it or     7   Legal Department of Southern?
           8   not approve it which would not result in the          8       A Yes.
           9   elimination.                                          9       Q Who did you communicate with?
          10       Q Is this entire process documented?             10       A When we talk about the in-house Legal
          11       A Yes.                                           11   Department, who within the in-house Legal
          12       Q How would you document your process of         12   Department did you communicate with?
          13   approving or not approving?                          13       A I don't recall which attorney was on
          14       A To the best of my recollection there           14   this case.
          15   was a spreadsheet that would have been filled out    15       Q Was Keith Thorell involved at all in
          16   that would have all of the employee's information,   16   approving or disapproving Ms. Suarez for
          17   the demographics, all extenuating circumstances,     17   elimination?
          18   what the position was currently, what would be       18       A That's an external attorney so I don't
          19   happening to the position going forward, whether     19   know if he would be involved in this.
          20   it was considered a redundant position no longer     20       Q Do you know whether he was involved in
          21   necessary due to automation, whether or not there    21   approving or disapproving of Maria Suarez for
          22   would be work that would be divided out amongst      22   termination?
          23   other individuals, and if there was who the other    23       A I don't recall.
          24   individuals would be.                                24       Q Who would know that?
          25       Q How would Roy Kohn and Kevin Randall           25       A I would assume Lauren Moody at the


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           1             E. TOOHIG                                   1             E. TOOHIG
           2   have proposed these particular individuals for        2   legal team, but again, that's an assumption. I
           3   elimination?                                          3   don't know.
           4       A Can you define that?                            4       Q Would someone from Legal have had to
           5       Q How did they give this list of five             5   approve these five individuals for elimination as
           6   individuals to you?                                   6   well?
           7       A I don't recall.                                 7       A Yes.
           8       Q Who compiled the information                    8       Q And who from Legal would have the
           9   concerning the employee information, demographics,    9   authority to approve these five individuals for
          10   their position, what would be happening to the       10   elimination?
          11   position whether it was redundant, et cetera?        11       A I answered I don't recall which legal
          12       A I did.                                         12   person on the team that I spoke to.
          13       Q Did you prepare that for each                  13       Q Okay. Would you have to receive
          14   individual who was selected for elimination?         14   written approval from Legal to eliminate these
          15       A Yes, to the best of my knowledge.              15   five individuals?
          16       Q What did you do with these documents?          16       A I would assume it was if an E-mail,
          17       A I would prepare all of the documents,          17   but I don't remember.
          18   and then I would submit them to the legal team for   18       Q Do you know whether Mr. Kohn and Mr.
          19   review to make sure that I didn't miss anything.     19   Randall documented in any way the way in which
          20       Q Then what would happen?                        20   they selected these five individuals?
          21       A It would come back and be either               21       A I don't recall.
          22   approved or disapproved or challenged where they     22       Q If they had documented in any way
          23   would want more information which I would have to    23   their selection of their five individuals was that
          24   provide to them. We would have a verbose             24   something that should have been provided to you?
          25   conversation about it.                               25       A Yes.


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                                                      Page 37                                                   Page 39
            1            E. TOOHIG                                    1             E. TOOHIG
            2       Q Okay. Is that something that you                2   individuals?
            3   would have reviewed as part of your process?          3       A To the best of my memory it had to do
            4       A Yes.                                            4   with the overall impact to the business.
            5       Q Do you know specifically in this case           5       Q Besides the overall impact to the
            6   whether or not you received any E-mails regarding     6   business of the elimination of a particular
            7   what process they followed in selecting these five    7   position was there any other factor considered in
            8   individuals?                                          8   selecting these five individuals for elimination?
            9       A I don't recall.                                 9       A Not that I can recall.
           10       Q Was their selection of these five              10       Q Is there any document that would
           11   individuals documented in some way?                  11   refresh your recollection?
           12           MS. CABRERA: Objection. It was asked         12       A I don't want to sound snarky. Do you
           13       and answered.                                    13   have any documents that I can review?
           14       A She objected so what do I say?                 14       Q Well, when you say not that I recall
           15           MS. CABRERA: You can answer it again.        15   can you think of any reason other than the impact
           16       A I don't recall what was documented.            16   to Southern's business why these five individuals
           17       Q But at some point you received                 17   were selected?
           18   documentation showing that these five individuals    18           MS. CABRERA: Objection to the form of
           19   had been selected?                                   19       the question.
           20       A I would have seen documentation.               20       A It was all about the business and cost
           21       Q And then you would have communicated           21   reductions and what positions could be eliminated,
           22   -- you would have prepared the spreadsheets,         22   what positions would cause the least impact to the
           23   correct?                                             23   operations of the business if they were no longer
           24       A Yes.                                           24   there. It was all about the operational
           25       Q And you would have sent that                   25   efficiencies so I don't know of any other factors


                                                      Page 38                                                   Page 40
            1             E. TOOHIG                                   1             E. TOOHIG
            2   documentation onto Legal?                             2   that would be considered.
            3       A Yes.                                            3        Q To your understanding it was all about
            4       Q And then Legal would have performed             4   operational efficiency?
            5   their own analysis, and they would have               5        A To the best of my knowledge.
            6   communicated to you whether or not it was             6        Q It was not about favoritism?
            7   approved?                                             7        A No.
            8       A Yes.                                            8        Q It was not about performance?
            9       Q That would have been documented as              9        A No.
           10   well?                                                10        Q Let me ask that in a better way
           11       A Yes.                                           11   because my question was flawed. So was the
           12       Q Do you know where any of the documents         12   decision to eliminate these five individuals based
           13   are that show why Maria Suarez was selected for      13   on favoritism?
           14   elimination?                                         14        A No.
           15       A No.                                            15        Q Was the decision to eliminate these
           16       Q What is the record keeping policy --           16   five individuals based on performance?
           17   withdrawn. What was the record keeping policy at     17        A No.
           18   Southern with regard to documentation of positions   18        Q Are you familiar with a lawsuit that
           19   that were eliminated?                                19   was filed by Tatiana Herdocia and Ena Scott?
           20       A I don't recall.                                20        A Yes.
           21       Q Were any of these five individuals             21        Q Did Ena Scott or Tatiana Herdocia ever
           22   who were selected for elimination selected because   22   file an EEOC charge against Southern?
           23   of their performance?                                23        A I don't recall if it was an EEOC
           24       A No.                                            24   charge.
           25       Q What factors were used to select these         25           MR. MOSER: Mark this as Plaintiff's


                                                                                     10 (Pages 37 to 40)
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                                                      Page 41                                                  Page 43
            1             E. TOOHIG                                   1              E. TOOHIG
            2       Exhibit 10.                                       2            MS. CABRERA: Objection to the form of
            3           (Whereupon a complaint was marked as          3       the question. What did Dina tell you was
            4       Plaintiff's Exhibit 10 for Identification,        4       inappropriate? I don't know why you
            5       as of this date).                                 5       withdrew that one? You can answer over my
            6       Q I am going to show you what was marked          6       objection if you can.
            7   as Plaintiff's Exhibit 10 for identification. Do      7       A I would say Dina told me in person
            8   you recognize this document, this complaint?          8   that there was a complaint filed and asked for
            9       A Yes.                                            9   guidance as to how to investigate it.
           10       Q Okay.                                          10       Q Okay. Do you recall the sum and
           11           MS. CABRERA: Again, I am going to            11   substance of any of those conversations that you
           12       make a note for the record that Exhibit          12   had with Dina Wald Margolis?
           13       number 10 does not bear any Bate stamps          13       A I remember the overall conversation
           14       reflecting that it has been exchanged in         14   and the overall complaint.
           15       this case. I can't say that I remember it        15       Q What was the overall conversation and
           16       being exchanged. I don't see the relevance,      16   the overall complaint?
           17       and so I am going to reserve my rights with      17       A The concern has been raised that
           18       regard to this document and all documents        18   Tatiana and Ena were classified for the purposes
           19       being used today that are not a part of the      19   of, I believe, of worker's comp. as clerical and
           20       record in this case.                             20   Justin -- his last name starts with a letter V. I
           21           I am also going to note for the record       21   don't remember it. Veigh or something like that.
           22       that discovery in this case has been ongoing     22   Was clarified as warehouse so it was invesigated
           23       for two years now so I really don't              23   to see whether or not there was discrimination
           24       understand why the witness is being shown        24   against Ena and Tatiana were justified.
           25       documents that have not been exchanged in        25       Q Did Josienne Sajous have a similar


                                                      Page 42                                                  Page 44
            1             E. TOOHIG                                   1             E. TOOHIG
            2       discovery.                                        2   claim to Ina and Tatiana?
            3       Q So what is this document to your                3       A I don't remember the name.
            4   understanding?                                        4       Q Was there another woman in that
            5       A This is a notice of filing with the             5   department?
            6   United States District Court in the Eastern           6       A (No answer).
            7   District of New York that they are filing a           7       Q Other than Ena Scott and Tatiana
            8   complaint against Southern Wine and Spirits of        8   Herdocia?
            9   America.                                              9       A I don't recall.
           10       Q Who did Tatiana Herdocia and Ena Scott         10       Q Who raised these concerns with Dina
           11   report to?                                           11   Wald Margolis?
           12       A At what time?                                  12       A I believe it was Maria.
           13       Q At the time this complaint was filed.          13       Q Maria Suarez?
           14       A I don't know exactly. At one point             14       A Yes. I don't know for a fact. That's
           15   she reported to Maria Suarez. I don't know at the    15   just from recall.
           16   time of this document.                               16       Q Other than Maria Suarez was there any
           17       Q At some point did you become aware             17   other manager that you can recall that claimed
           18   that female employees who reported to Maria Suarez   18   that individuals in their department may have been
           19   were making claims of discrimination?                19   discriminated against?
           20       A Yes.                                           20       A Can you repeat that?
           21       Q How did you become aware of that?              21       Q Did Maria say that the females in her
           22       A Through Dina Wald Margolis.                    22   department might have been discriminated against?
           23       Q What did Dina tell you? I will                 23       A Maria asked what was the difference
           24   withdraw that. How did you become aware of that?     24   between the classifications, why Tatiana and Ena
           25   Did Dina talk to you? Did she E-mail you?            25   were classified as clerical, and Justin was


                                                                                     11 (Pages 41 to 44)
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                                                      Page 45                                                  Page 47
            1             E. TOOHIG                                   1              E. TOOHIG
            2   classified as warehouse.                              2   warehouse classification?
            3       Q Did Maria suggest that it was because           3        A I don't know.
            4   of their sex that they were classified                4        Q Was it one?
            5   differently?                                          5        A I don't know.
            6       A I don't recall if it was Maria who              6        Q Did you ever disqualify any females
            7   asked that or whether it was Tatiana and Ena who      7   who had applied for the warehouse position?
            8   asked that.                                           8        A No.
            9       Q Was there ever any inquiry as to how            9        Q Can you think of any female who was
           10   Tatiana and Ena came to know that they were          10   hired in to the warehouse classification as you
           11   classified differently?                              11   sit here today?
           12       A To the best of my recollection? It             12        A No.
           13   was Maria who brought it to their attention,.        13        Q If the warehouse classification at the
           14       Q So was that something that Maria               14   Syosset facility was 100 percent male would that
           15   Suarez should have done?                             15   concern you?
           16       A Yes.                                           16           MS. CABRERA: Objection. You can
           17       Q Okay. So there was nothing                     17        answer it.
           18   inappropriate about Maria Suarez bringing to the     18        A No.
           19   attention of her employees that it appeared as       19        Q How many warehouse men were employed
           20   though Justin Veigh was classified differently       20   at the Syosset facility?
           21   than Ena Scott and Tatiana Herdocia?                 21        A A rough estimate?
           22       A It was a legitimate question to ask.           22        Q Correct.
           23       Q There was an investigation performed           23        A 150?
           24   into those allegations?                              24        Q And how many warehouse employees had
           25       A Yes.                                           25   been hired in the course of the time period that


                                                      Page 46                                                  Page 48
            1              E. TOOHIG                                  1             E. TOOHIG
            2       Q What was the outcome of that                    2   you were responsible for HR at that facility?
            3   investigation?                                        3       A I won't be able to recall. It is not
            4       A The outcome of the investigation was            4   a high turnover position.
            5   that it had been a clerical error that when Justin    5       Q Was it at least 50 individuals?
            6   was hired later into the department that he was       6       A I don't know.
            7   accidentally coded as warehouse versus the            7       Q Do you know if any individual that was
            8   appropriate title which was clerical, and it was      8   selected to be hired for the warehouse position
            9   verified.                                             9   was a female?
           10       Q At the time that these complaints              10       A I don't know.
           11   were made were there two broad classifications of    11       Q Is diversity important at Southern?
           12   workers in the warehouse?                            12       A Yes.
           13            MS. CABRERA: Objection to the form.         13       Q And that would include gender
           14       Q Under the collective bargaining                14   diversity in different roles?
           15   agreement?                                           15       A Yes.
           16            MS. CABRERA: Objection to the form          16       Q If the warehouse classification was
           17       of the question. You can answer it.              17   100 percent male is that something that you should
           18       A I know there are at least two. I               18   have known?
           19   don't know if there was more when it comes to this   19           MS. CABRERA: Objection.
           20   case.                                                20       A I don't know.
           21       Q There is clerical, and then there is           21       Q Are you aware that the women who sued
           22   warehouse employees?                                 22   Southern Wine and Spirits claimed that the
           23       A Yes.                                           23   warehouse classification was 100 percent male?
           24       Q During the time that you were employed         24       A Yes.
           25   at Southern how many females were hired into the     25       Q Did you ever do on investigation into


                                                                                     12 (Pages 45 to 48)
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                                                     Page 49                                                  Page 51
            1             E. TOOHIG                                  1             E. TOOHIG
            2   those claims?                                        2   specifically was not considered in eliminating her
            3       A Yes.                                           3   position?
            4       Q What did you find?                             4           MS. CABRERA: Objection. You can
            5       A I would need the reports back to tell          5       answer the question.
            6   you, but about the time I believe it was 100         6       A Yes.
            7   percent male.                                        7       Q Does Southern have a policy with
            8       Q Did that concern you at all?                   8   regard to performance evaluations?
            9       A We also looked at all of the                   9       A Yes.
           10   employment data of everyone who had applied for     10       Q Did it have that policy when you were
           11   the positions, and we did not see any               11   in charge of Human Resources?
           12   discriminatory practices in the hiring.             12       A Yes.
           13       Q You testified under oath before today,        13       Q What was that policy?
           14   correct?                                            14       A Specifically? I couldn't tell you
           15       A Yes.                                          15   word for word without looking at a policy, but
           16       Q You testified that certain women had          16   every employee had an annual performance review
           17   been disqualified from this particular position,    17   and then an annual salary review.
           18   correct?                                            18       Q Were you ultimately responsible for
           19           MS. CABRERA: Objection. That's              19   making sure that all the annual performance
           20       actually not what she said. You can go          20   evaluations were conducted?
           21       ahead.                                          21       A Yes. Like herding cats, yes.
           22           MR. MOSER: I will withdraw the              22       Q How would you keep track of whether
           23       question.                                       23   -- withdrawn. How did you keep track of the
           24           (Whereupon a female applicant sheet         24   annual performance evaluations?
           25       was marked as Plaintiff's Exhibit 11 for        25       A To the best of my recollection it was


                                                     Page 50                                                  Page 52
            1             E. TOOHIG                                  1             E. TOOHIG
            2       Identification, as of this date).                2   a systemic process. So there were reports that I
            3           MS. CABRERA: I will make the same            3   could generate to see status of completion.
            4       record on what is being marked as Exhibit        4       Q How often did you check those reports?
            5       number 11. It is an undated, un Bate             5       A Depending on the time when we were
            6       stamped document. It does appear to have         6   getting closer to the deadline, probably fairly
            7       been used in another case which is               7   often.
            8       apparently the theme of today, documents         8       Q And when was the deadline for
            9       that counsel is in possession of in              9   completion of the annual performance evaluations?
           10       connection with a completely different case.    10       A I honestly don't recall the time
           11       He continues to put them before the witness,    11   frames. Every company has a different one.
           12       and I will reserve all rights and okjections    12       Q Do you know if their performance
           13       moving forward. Thank you.                      13   evaluation system was based upon the calendar
           14       Q Do you remember what this document is?        14   year?
           15       A It appears to be a document on female         15       A I don't recall.
           16   applicants who applied for warehouse positions      16           MR. MOSER: I will have this marked as
           17   during -- I don't know what the time frame is.      17       a single document, but it has some other
           18       Q So these are the women that applied           18       useful documents in it so it is a good
           19   for the warehouse position, correct?                19       source of reference.
           20           MS. CABRERA: Objection.                     20           (Whereupon an employer's position
           21       A I would have no way of knowing that           21       statement was marked as Plaintiff's Exhibit
           22   based on this, or what time period.                 22       12 for Identification, as of this date).
           23       Q Is it fair to say that since                  23       Q I am going to show you a document
           24   performance was not a factor in selecting Maria's   24   with Bate stamp SGWS 002601, and the last page of
           25   job for elimination, that Maria's performance       25   this document is SGWS 002686. Do you see that?


                                                                                    13 (Pages 49 to 52)
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                                                      Page 53                                                   Page 55
            1              E. TOOHIG                                  1             E. TOOHIG
            2       A Yes, I do.                                      2   past due that they still needed in order to -- to
            3       Q I would like you to turn to SGWS 2618           3   submit their performance appraisal in order to be
            4   of Plaintiff's Exhibit 12? Does this refresh your     4   in on time.
            5   recollection? Does looking at this page refresh       5       Q What were the consequences to a
            6   your recollection as to when performance              6   manager who did not submit performance appraisals?
            7   evaluations were performed?                           7       A Nothing severe enough. You have a lot
            8       A This says it was launched on April 15,          8   of work you have to do to get evaluations.
            9   2010.                                                 9       Q Can you describe the consequences?
           10       Q Were all employees at the Syosset              10       A I believe there are not consequences.
           11   facility reviewed at the same time?                  11       Q Can you think of any good reason why
           12       A No.                                            12   an annual performance evaluation would not be
           13       Q So were they reviewed based upon the           13   performed for a nonunion employee?
           14   time that they started in a position or something    14       A Yes.
           15   else?                                                15       Q What good reasons can you think of?
           16       A It was an annual performance, but not          16       A Leave of absences, too new to the
           17   everyone went in it at the same time.                17   role.
           18       Q How did they break it up?                      18       Q And besides the employee being on a
           19       A The union was not -- was not through           19   leave of absence -- withdrawn. When you say too
           20   this process. It was nonunion only.                  20   new to the role do you mean that -- an employee
           21       Q Okay. How many nonunion employees              21   could recently have had his or her role changed
           22   were there at the Syosset facilities?                22   and would not be in that particular role for a
           23       A Nonunion? Again, it would just be a            23   significant enough time to accurately assess their
           24   rough estimate. Maybe 100 to 200.                    24   performance?
           25       Q Were those 100 to 200 individuals all          25       A Yes.


                                                      Page 54                                                   Page 56
            1             E. TOOHIG                                   1             E. TOOHIG
            2   reviewed at the same time?                            2       Q And what would you consider to be too
            3       A To the best of my recollection, yes.            3   new to the role in terms of time?
            4       Q Were all of their performance                   4       A I believe at the time it was anybody
            5   appraisals due on a specific date?                    5   who was not in the role for six months, but again
            6       A Yes.                                            6   I am going from recall here and not from a
            7       Q You are not sure what that date is?             7   position of knowledge.
            8       A I don't recall.                                 8       Q And aside from someone who had taken
            9       Q And what procedure would you follow to          9   of leave of absence or someone who was too new to
           10   make sure that all of those performance appraisals   10   the role were there any other valid reasons why a
           11   were actually submitted? I will withdraw that        11   performance evaluation would not be prepared for
           12   question. Let's go back. Describe the                12   each nonunion employee at the Southern facility in
           13   performance appraisal process at Southern when you   13   Syosset?
           14   were the VP of HR?                                   14       A Nothing that comes to me on top of my
           15       A What the process was?                          15   head. Nothing else.
           16       Q Yes.                                           16       Q Would it surprise you if I told you
           17       A Again, to the best of my                       17   that Maria Suarez was not given an annual
           18   recollection? The process would be the system        18   performance evaluation?
           19   would launch the process so it would open up for a   19           MS. CABRERA: Objection.
           20   specific period of time. It would be communicated    20       Q For every year during which she
           21   out. We would do training programs for each of       21   worked?
           22   the leaders to know how to utilize the system, how   22       A I would need to know the years and
           23   to best write an evaluation, how it needed to get    23   what was going on to took a look at that but -- I
           24   done. There would be communication on the time       24   would be surprised.
           25   line. There would be reminders when somebody was     25       Q Why would you be surprised?


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                                                     Page 57                                                   Page 59
            1             E. TOOHIG                                  1              E. TOOHIG
            2       A (No answer).                                   2   and April as to the time frame of -- performance
            3       Q Is that because this is a company              3   evaluations based on these documents. So I would
            4   policy that all managers are supposed to follow?     4   say based on that the next one would have been due
            5            MS. CABRERA: Objection to the form of       5   in February, or March, or April of 2015.
            6       the question. You can answer the question.       6        Q I am going to share with you that the
            7       A It would be more a surprise because of         7   first performance evaluation after this one that
            8   the hard work I and my team puts in to make sure     8   has been provided is -- can be found at SGWS 2665.
            9   everyone does the performance appraisal process      9   So we have a performance evaluation. If we look
           10   and realizes the value of it. That's where my       10   at SGWS 2639 the first page has the date.
           11   surprise would come from.                           11        A Mm-hmm.
           12       Q Would you review all performance              12        Q The date of this is 2/1/2013, correct?
           13   appraisals that were submitted by all managers at   13        A Yes.
           14   the Southern facility in Syosset?                   14        Q Does that mean this covered the period
           15       A No.                                           15   from 2012 to 2013?
           16       Q When we look at Plaintiff's Exhibit 10        16        A Yes.
           17   for identification there is a date on here of May   17        Q And then the next performance
           18   22, 2014. Do you see that?                          18   appraisal that was provided, annual performance
           19       A Yes.                                          19   appraisal that was provided by Southern, was for
           20       Q Do you know when Southern became aware        20   2015 to 2016. Do you see that on page SGWS 2665?
           21   of this lawsuit?                                    21        A Did you skip over 2014?
           22       A No.                                           22        Q I apologize. Okay. So you are
           23       Q Is it fair to say that they became            23   correct. So if we look at SGWS 2645 this
           24   aware of this lawsuit before the end of 2014?       24   particular performance evaluation would have
           25       A Yes.                                          25   covered the period from 2013 to 2014, correct?


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            1             E. TOOHIG                                  1             E. TOOHIG
            2           MS. CABRERA: Objection.                      2       A Correct.
            3       Q And if we look at what has been marked         3       Q And then there should have been a
            4   as Exhibit 12 do you know if this document           4   performance evaluation, if the policy was being
            5   contains all performance reevaluations for Maria     5   followed, that covered 2014 to 2015, correct?
            6   Suarez on and after 2010?                            6       A Correct.
            7       A I wouldn't know. This document was             7       Q Do you know whether one was completed
            8   prepared after I was no longer with the company.     8   for Maria Suarez?
            9       Q I will draw your attention to 2645.            9       A I don't know.
           10   Do you recognize this document?                     10       Q Can you think of any reason why
           11       A It appears to be an evaluation from           11   Southern would not provide that or not have it?
           12   2014 for Maria Suarez.                              12       A I don't know.
           13       Q Why did they call it a launch?                13       Q The 2016 performance appraisal for
           14       A It is just when the system launches           14   Maria Suarez if you look at SGWS 2665, this is
           15   out a task.                                         15   part of Exhibit J. Do you see that?
           16       Q I want you to turn to page SGWS 2651          16       A Yes.
           17   which is the last -- well, this is the last page    17       Q If you look at 2646 it says in Exhibit
           18   of this performance evaluation, the launch for      18   J, can you tell when this performance evaluation
           19   Maria Suarez. It appears to say page 7 of 7.        19   was issued?
           20       Q Okay. And the date on here is May             20           MS. CABRERA: Objection to the form of
           21   20, 2014, correct?                                  21       the question.
           22       A Yes.                                          22       A (No answer).
           23       Q So when would Maria Suarez' next              23       Q Can you tell what period of time this
           24   performance evaluation have been due?               24   performance evaluation covers?
           25       A The dates range from February, March,         25       A If it is for 2/16. It would cover the


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                                                      Page 61                                                   Page 63
            1             E. TOOHIG                                   1             E. TOOHIG
            2   year of 2015.                                         2       A I don't recall. I was involved in the
            3       Q Look at SGWS 2669. Target due date.             3   process, but I don't recall if I made the
            4   Do you see that?                                      4   decision.
            5       A Yes.                                            5       Q So you don't recall if you were
            6       Q What does that mean?                            6   responsible for the decision to give Maria Suarez
            7       A It looks like it is adopt plan, and it          7   the WMI administrator position?
            8   was a file on communication that was determined       8       A I was involved in the process. I
            9   with Maria to be done by June 30.                     9   don't recall if it was my decision.
           10       Q It goes from 2669 to 2670. Do you see          10       Q Describe for me the process.
           11   that?                                                11       A It would have been a position that was
           12       A Yes, sir.                                      12   posted. People would have interviewed through the
           13       Q Should there have been a signature             13   process. Interview notes would have been
           14   page attached to this?                               14   compared, and the decision would have been made as
           15       A I don't know. I didn't prepare this            15   to who was the most qualified for the position.
           16   document.                                            16   And those positions would be offered. Then they
           17       Q Who prepared the document?                     17   would also be -- I would have to normally have to
           18       A It was after I left.                           18   approve salaries and get that all signed off on.
           19       Q When did you leave again?                      19       Q Do you recall the process specifically
           20       A My last official day was December 31,          20   with regard to Maria Suarez?
           21   2018. I was a consultant through '19, but I had      21       A I don't recall specifically with Maria
           22   no -- I wasn't part of this process.                 22   Suarez. That's the overall process that would
           23       Q So you are saying you were not there           23   have been followed.
           24   when this performance appraisal was issued?          24       Q Did you have any conversations with
           25       A I am saying I wasn't there when this           25   anyone about selecting Maria Suarez for the WMI


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            1             E. TOOHIG                                   1             E. TOOHIG
            2   document was created. I don't know where this         2   administrator position?
            3   came from.                                            3       A I would have had to if it went
            4       Q Was there a practice and policy during          4   through.
            5   the time that you were the VP of Human Resources      5       Q Do you recall any of those
            6   that employees would sign their performance           6   conversations?
            7   evaluations?                                          7       A Not specifically.
            8       A There was a time where it changed in            8       Q Who came up with the WMI administrator
            9   the system where it became electronic signatures.     9   job description?
           10   And that there was also a process where it would     10       A I believe it was a corporate function
           11   have been -- it had to be signed and then scanned    11   based on the automation of the new technology that
           12   in so not always was it in the system, but I don't   12   was coming in, and we were following suit what was
           13   recall when the transition was. I just recall        13   being done in other areas.
           14   there being difficulty at that time.                 14       Q So who provided that?
           15       Q Okay.                                          15       A Specifically?
           16       A So I don't know when that was.                 16       Q Yes.
           17       Q Do you know if that is the reason why          17       A I don't know.
           18   there is no written signature to Exhibit J?          18       Q I am going to show you what was
           19       A No.                                            19   previously marked as Plaintiff's Exhibit 3 for
           20       Q Do you know if Exhibit J was ever              20   identification. Do you recognize this document?
           21   given to Maria Suarez?                               21       A I recognize the process but not this
           22       A No.                                            22   specific document.
           23       Q Were you involved at all in the                23       Q What process do you recognize this to
           24   decision to give Maria Suarez the WMI                24   be?
           25   administrator position?                              25       A Well, this is a printout from the


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                                                     Page 65                                                   Page 67
            1             E. TOOHIG                                   1              E. TOOHIG
            2   applicant tracking system that would document the     2   actually created this position, right?
            3   days and times that everything was either posted,     3        A According to this piece of paper in
            4   approved documents the process. Attached to it is     4   front of me it appears that she did it.
            5   the position profile, the job descriptions, and       5        Q And when we look at the first page
            6   details that would have been posted for employees     6   there's at the very bottom line it says
            7   to apply to and externals.                            7   requisition approval requested. Can you explain
            8       Q So if we look at SGWS 00896, which is           8   what that is?
            9   the second page of this document, there is an         9        A Before any requisition can be approved
           10   entry here towards the top of the page. It says      10   and posted to the job site it needs to be approved
           11   January 27, 2016 at 4:27:32 p.m. What is that        11   by the leadership of the department and myself.
           12   indicating?                                          12        Q And did these individuals that are
           13       A I don't recall what the language               13   listed, Kevin Randall, Roy Kohn, Beth Toohig,
           14   means.                                               14   Larry Goodrich, did they all have to approve this,
           15       Q Was this particular job description            15   that specific order?
           16   created by Dina Wald Margolis?                       16        A Yes. That's the way that the system
           17       A Yes, it looks like it.                         17   does. It does not get approved by HR until after
           18       Q It says here created from duplication          18   it has already been approved by the leadership
           19   of 00001754. Do you know what that means?            19   team, and then after I approve it it would go to
           20       A I believe that means it was a job              20   Larry Goodrich for approval.
           21   previously posed, and she just cut and pasted to     21        Q So who was Larry Goodrich?
           22   save herself the trouble of -- creating it from      22        A The general manager.
           23   scratch.                                             23        Q Of what?
           24       Q Do you know how she selected that?             24        A New York State.
           25       A Systemically?                                  25        Q Were all requisitions for new jobs


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            1             E. TOOHIG                                   1               E. TOOHIG
            2       Q Yes. How did she come -- do you know            2   approved by Larry Goodrich?
            3   why she created this particular job?                  3        A To the best of my recollection, yes.
            4       A It was created in compliance with what          4        Q What is the process for approving this
            5   they did with the new WMI warehouse management        5   particular requisition?
            6   system.                                               6        A Can you clarify that?
            7       Q She created this job at someone else's          7        Q Well, you receive this request.
            8   request?                                              8   Requisition approval requested, correct?
            9       A Yes. Dina would make them up.                   9        A Yes.
           10       Q Who would request her to create this           10        Q And at some point you have to approve
           11   position?                                            11   it?
           12       A I would venture to guess that it was           12        A Yes.
           13   Kevin Randall as he is listed as a hiring manager.   13        Q What process did you follow in
           14       Q Well, I don't want you to guess.               14   approving it?
           15       A That's the only way I could guess from         15        A When I approved positions I would --
           16   this document.                                       16   -- if I did not already have knowledge of it I
           17       Q Okay. So do you know who told Dina             17   would speak to the leader of that department,
           18   Wald Margolis to create this particular position?    18   confirm the validity of their request, confirm it
           19       A No.                                            19   was budgeted, that it was something that we should
           20       Q Do you know why she created it from a          20   be replacing. I would make sure I understood all
           21   duplication of 00007154?                             21   of those details and approve it. Often I already
           22       A No.                                            22   knew about it ahead of time because we already had
           23       Q Would Dina Wald Margolis know that?            23   conversations, or if it was an employee leaving or
           24       A I have to assume on her behalf.                24   something that was going on we already knew it was
           25       Q This indicates that she is the one who         25   approved so it was a much easier systemic clicking


                                                                                      17 (Pages 65 to 68)
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                                                     Page 69                                                   Page 71
            1             E. TOOHIG                                   1              E. TOOHIG
            2   of a button.                                          2   her job?
            3       Q Do you recall the process that you              3             MS. CABRERA: Objection to the form of
            4   followed specifically in approving this               4         the question?
            5   requisition?                                          5        A It should be.
            6       A Not in 2016.                                    6        Q Okay. I would like you to read this
            7       Q As part of your process in approving            7   job description for me.
            8   requisitions did you review the job description?      8        A Out loud?
            9       A I would say rarely.                             9        Q No, no, to yourself. Is this supposed
           10       Q Did you review this particular job             10   to be an accurate reflection of the principal
           11   description and the job description begins at SGWS   11   responsibilities that Maria had as WMI
           12   0000897?                                             12   administrator?
           13       A I wouldn't have reviewed it at the             13        A It says job elements, but that's what
           14   time of approving this for requisition.              14   it is intended.
           15       Q What is the purpose of a job                   15        Q So this is intended to be -- this is
           16   description?                                         16   intended to accurately describe -- is this
           17       A Outline the key responsibilities of            17   intended to accurately describe what Maria's job
           18   the position.                                        18   duties were as WMI administrator?
           19       Q Is it so that the employee is -- that          19             MS. CABRERA: Objection. It was asked
           20   the employee knows what they are supposed to be .    20        and answered. You can answer it again.
           21   doing?                                               21        A It says it is the principal job
           22           MS. CABRERA: Objection to the form of        22   elements for making decisions related to job
           23       the question. You can answer it.                 23   performance. It says it is not intended to be an
           24       A Overall the posting gives a general            24   exhaustive list of all responsibilities, skills,
           25   overview of what the expectations in the role to     25   and efforts of working conditions.


                                                     Page 70                                                   Page 72
            1              E. TOOHIG                                  1             E. TOOHIG
            2   see whether or not somebody would qualify for the     2        Q But it is intended to be the basis on
            3   role.                                                 3   which she would be evaluated?
            4       Q Does the job description -- well, is            4        A Yes.
            5   the job description an accurate reflection of the     5        Q Can you figure out from reading this
            6   principal job elements for making decisions           6   job description what her responsibilities were?
            7   related to the employees job performance?             7        A Develop and implement WMS mixed
            8            MS. CABRERA: Objection to the form of        8   projects, designs --
            9       the question.                                     9        Q I understand that it has a listing of
           10       A Can you clarify the question?                  10   a bunch of different things here.
           11       Q Well, I am going to draw your                  11        A Okay.
           12   attention to SGWS 0000899. If you look at the        12        Q My question is, looking at this do you
           13   comments section on the top, do you see that?        13   have an understanding as to what her
           14       A Yes, up here.                                  14   responsibilities were as WMI administrator?
           15       Q I will read this into the record.              15        A I have what this tells me, yes, but
           16   This position description is not intended and        16   she is responsible for the WMI administration, she
           17   should not be construed to be an exhaustive list     17   is responsible to work along with the warehouse
           18   of all responsibilities, skills, efforts, or         18   and operations team, she is to be looking at
           19   working conditions associated with the job. It is    19   trends and technologies and make sure she is
           20   intended however to be an accurate reflection of     20   making recommendations for improvement. She is
           21   these principal job elements for making decisions    21   supposed to be interacting with the supply chain
           22   related to job performance, employees'               22   and the warehouse to make sure that all inventory
           23   development, and compensation. Does that mean        23   is measured and managed. That's what this reads
           24   that this job description should be used as a        24   to me.
           25   guide to determine whether Maria was performing      25        Q And in your opinion does this clearly


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                                                     Page 73                                                   Page 75
            1              E. TOOHIG                                  1             E. TOOHIG
            2   indicate to her what her job responsibilities         2   for supporting Southern Wine's Manhattan software
            3   would be as WMS administrator?                        3   (a WMI-I series). The candidate will assist to
            4       A I can't answer for Maria, but if she            4   configure, operate, train, oversee, and analyze
            5   had any questions she would have asked her manager    5   our WM (and operations) functions to achieve
            6   for clarification.                                    6   project objectives, insure smooth startup and
            7            MR. MOSER: Read back the question.           7   transition by providing leadership and training to
            8            (The question was read back by the           8   the local staff." That in your opinion is an
            9       court reporter).                                  9   accurate description of the WMI administrator's
           10       A I answered that I can't answer for             10   position?
           11   Maria, but if Maria had some questions or concerns   11       A I think it gives a very good overview.
           12   on it she should be asking her manager.              12       Q And what does it mean by providing
           13       Q My question is not -- you answering            13   leadership and training to the local staff? Who
           14   for Maria. My question is, in your opinion does      14   are the local staff?
           15   this accurately describe what the WMI                15       A Employees in the New York location.
           16   administrator's duties are?                          16       Q Why would it say local staff if she
           17            MS. CABRERA: Objection. No. You             17   was in the New York location?
           18       asked a different question. You asked if --      18       A Because these job descriptions are
           19       it is clear to Maria. You asked a different      19   used across the country. The local team.
           20       question.                                        20       Q Do you know whose job description this
           21       Q In your opinion is it clear what the           21   was originally?
           22   WMI administrators' duties are from this job         22       A No.
           23   description?                                         23       Q Would Dina Wald Margolis know that?
           24       A I would say it is a clearly overall            24       A Potentially if she pulled out what
           25   concept of what you have described supposed to be    25   requisitions she duplicated and looked at the


                                                     Page 74                                                   Page 76
            1             E. TOOHIG                                   1              E. TOOHIG
            2   doing as a WMI administrator. The actual tasks or     2   application to see who was offered that position.
            3   the day-to-day responsibilities or the process of     3       Q This requisition was filled on May 5,
            4   management is not included here.                      4   2016, do you see that?
            5       Q When we look at building capabilities,          5       A Yes.
            6   20 percent on SGWS 898 do you see building            6       Q Does that mean that Maria was given
            7   capability 20 percent?                                7   this position on May 5, 2016?
            8       A Yes.                                            8       A It would appear it was listed in the
            9       Q What does that refer to?                        9   system that Maria was hired on May 5, 2016.
           10       A Building capabilities?                         10       Q And in considering whether or not she
           11       Q Yes.                                           11   met the qualifications for this position, what
           12       A I would say it is twofold. Building            12   documents would have been reviewed?
           13   capabilities is for developing a team and holding    13       A In theory?
           14   them accountale and also building capabilities of    14       Q What documents should have been
           15   the department overall for efficiencies. That's      15   reviewed as part of the policy and procedure at
           16   how I would translate it.                            16   Southern?
           17       Q Do you know what it means when it says         17       A She would have been interviewed. She
           18   stay current on emerging warehouse MHE solutions,    18   would have looked at job performance, history.
           19   trends, technologies, and best practices?            19   She would have looked at her current job and
           20       A I know what it means to stay current           20   responsibilities.
           21   on emerging trends. I don't know what MHE            21       Q So the individual who selected her
           22   solutions are. I don't know what that is.            22   should have looked at her performance appraisals?
           23       Q If we look at SGWS 000897 I will read          23       A No.
           24   that short description external. "The                24           MR. MOSER: Mark this as Plaintiff's
           25   administrator will act as the functional resource    25       Exhibit 13.


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                                                     Page 77                                                    Page 79
            1              E. TOOHIG                                  1             E. TOOHIG
            2            (Whereupon an employee handbook was          2       A How would we know?
            3       marked as Plaintiff's Exhibit 13 for              3       Q Yes.
            4       Identification, as of this date).                 4       A Well, I would answer it another way.
            5       Q So in your opinion the person who made          5   We would know if she wasn't.
            6   the decision to give this job to Maria Suarez         6       Q How would you know that?
            7   should not have reviewed her performance              7       A There would be conversations being had
            8   evaluations?                                          8   on performance management.
            9            MS. CABRERA: Objection to the form of        9       Q So she met the eligibility
           10       the question.                                    10   requirements, correct, listed in the manual?
           11       A The practice has been HR would review          11       A Yes.
           12   the file to make sure that the person was eligible   12       Q And she was given the position on May
           13   for the opportunity. We would not share the          13   5, 2016, correct?
           14   files. We would not share the actual performance     14       A Yes.
           15   appraisals.                                          15       Q And when we look back, I would like
           16       Q With woman?                                    16   you to take a look at Plaintiff's Exhibit 12 again
           17       A With the hiring manager.                       17   for identification. I will draw your attention to
           18       Q So have you ever seen what is marked           18   SGWS 2665. This is part of Exhibit J. This
           19   as Plaintiff's Exhibit 13, the employee handbook?    19   performance appraisal would have covered the
           20       A Yes.                                           20   period from 2015 to 2016, is that correct?
           21       Q And was this the employee handbook in          21       A Yes.
           22   effect as of May 2016?                               22       Q Can you explain why, if this covers
           23       A I am assuming so. You showed me one            23   the period from 2015 to 2016 and she had only
           24   now that said May of 2014. You showed me one         24   received the job on May 5, 2016, why she was being
           25   earlier with a different date.                       25   evaluated?


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            1              E. TOOHIG                                  1              E. TOOHIG
            2        Q That one was earlier. That one                 2        A It is more than six months. It was a
            3   precedes this one. So was this to the best of         3   continuous leader. She was reporting to John
            4   your knowledge -- was this handbook in effect in      4   Wilkinson.
            5   May 2016?                                             5        Q So you don't know when this
            6        A To the best of my knowledge I don't            6   performance evaluation was issued, do you?
            7   know when the new additions have come out.            7        A Not according to the paperwork I have
            8        Q Okay. If we turn to SGWS 001024, if            8   in front of me.
            9   you look at section D eligibility, did Maria meet     9        Q Because these are normally -- you had
           10   all of the eligibility requirements to apply for     10   testified earlier March, April, or May?
           11   the WMI administrator position?                      11        A Well that was the dates that are on
           12        A She had met the minimum qualifications        12   this paperwork.
           13   for the posted position. She has been in her         13        Q Were they normally issued to Maria
           14   position for six months, was out reading the job     14   Suarez?
           15   performances that you indicated in another file.     15            MS. CABRERA: Objection. Let her
           16   I believe she was in good standing as an employee    16        finish, and then you can ask her another
           17   so yes, she would have met all criteria to be        17        question.
           18   considered for the WMI administrator.                18        Q Were you done?
           19        Q So we already established that the            19        A No. The question that I answered was
           20   last performance review she had received was May     20   based on the documents here that these were the
           21   20, 2014, is that correct?                           21   dates that we had for Maria.
           22        A Yes.                                          22        Q So if Maria started the WMI
           23        Q How do you know that Maria was                23   administrator position in May of 2016 when for the
           24   satisfactorily meeting the job requirements of her   24   first time should her performance have been
           25   current position?                                    25   reviewed as WMI administrator?


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                                                     Page 81                                                    Page 83
            1              E. TOOHIG                                  1            E. TOOHIG
            2        A Well, when they did the performance            2   administrator?
            3   appraisal it would be for the first few months        3           MS. CABRERA: I will object to the
            4   would be her previous position, and then the last     4       form of the question. You can answer it.
            5   seven months would be as her WMI administrator        5       A In my brief overview it appears she
            6   position. It is a yearly evaluation.                  6   was evaluated on both.
            7        Q So when she was being rated --                 7       Q And where do you see she was evaluated
            8            MR. MOSER: Repeat the last question.         8   based upon her duties as an inventory control
            9            (The last question was repeated by the       9   manager?
           10        court reporter).                                10       A Just in some of the verbiage talking
           11        A It was February, March, or April of           11   about Maria is very organized. It sounds like it
           12   2017.                                                12   went from both prior and after the WMI
           13        Q Thank you. Can you explain why she            13   administration.
           14   was issued a performance appraisal in 2016 for the   14       Q Can you tell me specifically where in
           15   WMI administrator position?                          15   this document you see that she was being evaluated
           16        A Can you explain that question?                16   based upon her ability to do her job as inventory
           17        Q Well, this particular performance --          17   control manager?
           18   the performance appraisals are dated with the year   18       A She demonstrated these abilities
           19   that they are issued. All of them, correct?          19   during our July wall to wall inventory.
           20        A Right.                                        20       Q Where is that?
           21        Q This is a 2016 performance appraisal,         21       A On page 4 of 5. 2668. Where it has
           22   is that correct?                                     22   good analytical skills. She regularly
           23        A That's correct.                               23   demonstrated the skills during during meetings
           24        Q So this would cover the period from           24   prepeed for our physical inventories.
           25   2015 to 2016?                                        25       Q Okay. So you referred to SGW 002668,


                                                     Page 82                                                    Page 84
            1             E. TOOHIG                                   1             E. TOOHIG
            2       A Correct.                                        2   correct?
            3       Q And we established already that she             3       A Yes.
            4   only received the WMI administrator position in       4           MS. CABRERA: Were you done?
            5   May 2016?                                             5       Q You can continue.
            6       A Yes.                                            6       A That was one example.
            7       Q So my question is why did she receive           7           MS. CABRERA: Take your time to read
            8   a performance evaluation for 2016 if her first        8       the entire document. I don't want a brief
            9   performance evaluation should only have been          9       overview. Take your time. If you need 20
           10   issued in -- in early 2017?                          10       minutes to read it, take 20 minutes to read
           11           MS. CABRERA: Objection. It                   11       it. We can all wait.
           12       mischaracterizes the question and the            12       A On page 2667. It talks about Maria is
           13       testimony. Your question to her was when         13   very organized and plans very well. "She is very
           14       should her performance evaluation for the        14   effective at scheduling her staff and managing the
           15       WMI position should have been done and not       15   processes that they need to perform on a daily
           16       when a performance evaluation should have        16   basis. That would be a combination of both of her
           17       been done, especially since we all know          17   responsibilities as before and after. Again,
           18       Maria was employed for that year, but you        18   Maria can lead others through ambiguity in times
           19       can answer the question again and if you         19   of change. No problems bridging the past and
           20       understand what is being asked.                  20   advancing new ideas and technologies." That would
           21       A I don't understand what is being               21   have been part of her inventory control manager
           22   asked.                                               22   position.
           23       Q Throughout this document was Maria             23       Q You are talking about the comments by
           24   being evaluated based upon her ability to do her     24   John Wilkinson on 2667, correct?
           25   job as inventory control manager or as a WMI         25       A Correct. So on 2666 comments again


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                                                      Page 85                                                   Page 87
            1              E. TOOHIG                                  1             E. TOOHIG
            2   by John Wilkinson who talks about Maria's             2   manager prior to getting the title of coordinator.
            3   performance prior to the WMI trainers from coming     3        Q So she had a role in the
            4   in.                                                   4   implementation of WMI before she even had the WMI
            5       Q Okay.                                           5   administrator position?
            6       A On that same page Maria has a very              6        A Yes.
            7   difficult time communicating with her cycle           7        Q What role did she have?
            8   counters, housing managers, and other departments     8        A She had to convert what she was
            9   would have been as an inventory control managers      9   currently doing manually as an inventory control
           10   and any discussions, WMI implementation.             10   manager and how we were managing inventory to the
           11       Q Anything else?                                 11   current state, and we had to transition to the new
           12       A I would say these are the examples.            12   state with the WMI new software and capabilities.
           13       Q So when we look at demonstrated                13   So her role was specifically designed to be able
           14   skills and results performance goals which is on     14   to translate what they were currently doing to
           15   the first page, do you see that?                     15   what they were going to be doing in the future so
           16       A What page was that again?                      16   she had to be part of the implementation time.
           17       Q 2665. SGWS 2665.                               17        Q She did that before May 5, 2016?
           18       A Are you looking at what part?                  18        A Yes.
           19       Q I am looking at where it says results          19        Q When Maria became WMI administrator
           20   performance goals 50 percent of appraisal.           20   do you know if she was classified as exempt from
           21       A Mm-hmm.                                        21   overtime?
           22       Q And then beneath that is -- when we            22        A Yes.
           23   look at that was she evaluated based upon her        23        A I believe the job description says it
           24   ability to perform the WMI administrative            24   was exempt from overtime.
           25   position?                                            25        Q Did she manage employees?


                                                      Page 86                                                   Page 88
            1              E. TOOHIG                                  1              E. TOOHIG
            2       A She was evaluated on how she would              2       A She directed the work of the
            3   handle a WMI position and the transition to WMI       3   employees.
            4   which she would have had responsibilities for         4       Q As WMI administrator whose work did
            5   regardless of whether she got the WMI                 5   she direct?
            6   administrator position or not.                        6       A The work of the inventory control
            7       Q So in the results and performance               7   clerks if I remember the titles correctly.
            8   goals which are 50 percent of the -- 50 percent of    8       Q This was after she became WMI
            9   her appraisal was she being reviewed based upon       9   administrator?
           10   any work she had done as inventory control manager   10       A Yes.
           11   before she became WMI administrator?                 11       Q Describe your understanding of how she
           12       A Well, to clarify what it said before,          12   controlled their work.
           13   the implementation of WMI was an entire project      13       A Basically I think she did an analysis
           14   that was going to happen regardless of whether       14   of any discrepancies from the inventory. She
           15   Maria had the WMI coordinator position or not. So    15   assigned it to a control clerk to investigate.
           16   as inventory control manager she was responsible     16   She then investigated their work to make sure it
           17   for the implementation of the new software of WMI.   17   was accurate and answered the question and then
           18            MR. MOSER: Read back the question.          18   helped them correct any inventory discrepancies.
           19            (The question was repeated by the           19       Q Was she their supervisor?
           20       court reporter).                                 20       A She did not have the right to
           21       A Yes, because it was a project of WMI           21   discipline them because they were actually going
           22   implementation so it was an entire major project     22   to be disciplined by another manager, but she did
           23   to convert the warehouse inventory tracking system   23   all of their work, you know, directed all of their
           24   to the new software, the new WMI, which would be     24   work, made sure that they were effective doing
           25   part of her responsibilities as inventory control    25   what they needed to do and getting all of the


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            1             E. TOOHIG                                   1             E. TOOHIG
            2   things that were done that were coming up from the    2        A Again, there were a lot of employees
            3   inventory analysis. Was she their supervisor? In      3   there. You want specific job titles? What are
            4   effect just as I came to direct their work.           4   you looking for?
            5       Q If she didn't have, who was their               5        Q Well, give me an example of anyone who
            6   manager?                                              6   is a manager of a particular function?
            7       A Um, for when it came to disciplining            7        A Maria.
            8   and attendance tracks all of that it was done by a    8        Q Other than Maria.
            9   warehouse supervisor.                                 9        A On the sales side we have people who
           10       Q Barry Finkelstein?                             10   were in talent. They do the marketing and the
           11       A I think so.                                    11   research. They don't manage people. They manage
           12       Q Why was that handled by Barry                  12   the function.
           13   Finkelstein after she became WMI administrator?      13        Q What do you mean the south side?
           14       A He had the resources in which to               14        A No, on the sales side.
           15   handle that.                                         15        Q On the operations side, besides Maria
           16       Q What do you mean resources?                    16   Suarez was there any other individual who was the
           17       A If there were absenteeism or things            17   manager of a function?
           18   going on he had the staffing that would be able to   18        A No. You have HR business partner or
           19   jump in and cover for absenteeism. He had the        19   generalist was a manager of function, not of
           20   relationship with the union in order to write up     20   people. You would have in the call center there
           21   disciplines and get those processed.                 21   were managers of function, not people. But I
           22       Q So is there any other reason why Barry         22   would have to look at an exact, you know, job
           23   Finkelstein became the manager of the inventory      23   description or things in order to give you a more
           24   control clerks?                                      24   accurate definition. There were more than just
           25       A None that I recall.                            25   Maria Suarez.


                                                     Page 90                                                   Page 92
            1              E. TOOHIG                                  1            E. TOOHIG
            2       Q I asked John Wilkinson at his                   2      Q Okay. The other individuals who were
            3   deposition who Maria supervised as WMI                3   managers of functions, were they exempt?
            4   administrator, and he said nobody. Does that          4      A Yes.
            5   sound accurate?                                       5      Q And did the individuals who managed
            6            MS. CABRERA: Objection as that is a          6   functions also manage employees?
            7       complete mischaracterization of the               7      A Define how you are using the word
            8       testimony, and we may have to bring up the        8   manage employees. Did they direct the work?
            9       transcript but you can answer the question?       9      Q Well, what does it mean at Southern
           10       A Not to me, no.                                 10   when someone has disciplinary authority over
           11       Q And were there any other supervisors           11   another individual? Does that mean they are their
           12   -- and so was Maria still a manager when she         12   manager?
           13   became WMI administrator?                            13      A Not necessarily.
           14       A In what sense? Can you clarify that            14      Q Okay. So I am trying to wrap my head
           15   question?                                            15   around this.
           16       Q What is a manager at Southern when we          16      A It is a union environment.
           17   talk about managers? What is a manager?              17      Q So why was it -- I am sure it is a
           18       A It depends on the role. I don't know           18   union environment, but before she became WMI
           19   that I can answer that question theory based.        19   administrator Maria had disciplinary authority
           20       Q So you can't tell me if someone has            20   over her employees, correct?
           21   the title of manager at Southern what that means?    21      A Yes.
           22       A A manager could be of people or a              22      Q And that was when she became WMI
           23   manager of function.                                 23   administrator that was taken away?
           24       Q And so which individuals were managers         24      A It was reclassified.
           25   of people at Southern?                               25      Q It was taken away?


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            1              E. TOOHIG                                  1              E. TOOHIG
            2           MS. CABRERA: Objection. You won't             2   clerks before she became WMI administrator?
            3       argue with the witness on the record. You         3       A To my knowledge? When I had been
            4       are not going to argue with the witness on        4   talking or working with Maria it was very paper
            5       the record. If you don't like her answer          5   centric, was very kind of difficult to track large
            6       that's too bad.                                   6   quantities of inventory because it was not a
            7       Q It was reassigned, correct. So it was           7   strong tracking or software system, so there were
            8   reassigned to another individual, but it wasn't       8   a lot of challenges with staffing, having enough
            9   taken away from her, is that correct?                 9   staffing, the staffing calling out and trying to
           10       A It was not part of the new                     10   get the work done, working lots of weekends, so it
           11   responsibilities of the WMI administrator. The       11   was a labor intensive kind of a role which would
           12   focus of that job was the technicalities and the     12   have been eliminated or systemic solutions to
           13   infrequencies of understanding the WMI system and    13   create with the conversion to the WMI system.
           14   being able to direct the work which was more of      14       Q So as a manager of the inventory
           15   the skill set we needed in that role versus          15   control clerks in her management role before she
           16   somebody who had union relations and union           16   became WMI administrator, what were her duties as
           17   relationships and was able to discipline somebody.   17   a manager?
           18   Her skill set had a higher skill set.                18            MS. CABRERA: Objection. Again,
           19       Q Who determined that particular skill           19       continues to mischaracterize the testimony.
           20   set?                                                 20       You can answer the question if you can.
           21       A (No answer).                                   21       A I am not sure what you are asking me.
           22       Q Who determined that this particular            22       Q You don't understand?
           23   role was not a managerial role?                      23       A No. I am not trying to be difficult.
           24           MS. CABRERA: Objection. It                   24   I don't understand what you are asking.
           25       mischaracterizes the testimony. It is not        25            MS. CABRERA: Objection. If she says


                                                      Page 94                                                  Page 96
            1             E. TOOHIG                                   1            E. TOOHIG
            2       what she said.                                    2      she doesn't understand, she doesn't
            3       A I said it was an exempt level role of           3      understand. You don't push her on that.
            4   somebody who was directing the work, and what         4          MR. MOSER: If you keep on telling the
            5   needs, and it was a job description that had been     5      witness that she doesn't understand --
            6   created. It was replicated in other areas so who      6          MS. CABRERA: I did not say that. I
            7   exactly defined that? I don't know.                   7      said you mischaracterized the testimony.
            8       Q So what was Barry Finkelstein's role            8      That is what I said. It is on the record.
            9   in managing the inventory control clerks?             9      I didn't say she didn't understand. I said
           10       A To the best of my recollection his             10      you mischaracteized the testimony.
           11   role was to make sure if there was disciplinary      11          MR. MOSER: I think we can read back
           12   action issues he had conversations with the union    12      what was said.
           13   on their behalf. If one of them called out sick      13          MS. CABRERA: Absolutely.
           14   or was on an FMLA, or on a permanent leave he        14          MR. MOSER: You are coaching the
           15   would find somebody on his team who would be able    15      witness.
           16   to support the work that Maria failed to get done.   16          MS. CABRERA: Absolutely not.
           17       Q Anything else?                                 17          MR. MOSER: Your objections are
           18       A These are things off the top of my             18      improper, and you know it.
           19   head.                                                19          MS. CABRERA: I will make the
           20       Q When Maria's job as WMI administrator          20      objections that I think need to be made to
           21   was eliminated were any of her duties given to       21      rein you in.
           22   anyone else?                                         22          MR. MOSER: Regardless of whether they
           23       A I don't recall.                                23      comport with the rules.
           24       Q So describe for me Maria's role when           24          MS. CABRERA: Yes, I think I am just
           25   she was the manager of the inventory control         25      fine with the rules, but if you want to


                                                                                      24 (Pages 93 to 96)
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                                                      Page 97                                                  Page 99
            1             E. TOOHIG                                   1             E. TOOHIG
            2       challenge that I am happy to get on the           2   rectify that situation.
            3       phone with the court. We can do that,             3       Q What was Barry Finkelstein's role in
            4       okay?                                             4   that? Was he assigning them any work?
            5           MR. MOSER: Okay.                              5       A Not that I am aware of. Our work
            6           MS. CABRERA: Let's do that if that's          6   would have been directed by Maria.
            7       what you want to do.                              7       Q If Barry Finkelstein was not assigning
            8           MR. MOSER: I don't see the need to            8   any work to the inventory control clerks why would
            9       bother the court.                                 9   he need to be their manager?
           10           MS. CABRERA: Well, I need to do it           10       A As I said, he -- they reported it to
           11       because my objections are appropriate. I         11   him because he had the relationship with the
           12       won't sit here and let you mischaracterize       12   union. He had the capabilitiy of making sure that
           13       the testimony.                                   13   things were documented with the union, and when it
           14           MR. MOSER: Okay.                             14   came to discipline and he had the staffing that if
           15       Q So do you have any firsthand knowledge         15   somebody wasn't able to come to work he would have
           16   of what Maria's supervisory role was when she        16   somebody that was trained and ready to go in as a
           17   became WMI administrator?                            17   backup. Maria would not have these resources.
           18       A Yes. She directed the work and                 18       Q So let's go through these briefly. He
           19   assignments to the inventory control clerks. She     19   had a relationship with the union. That's one
           20   worked alongside with the WMI manager which had      20   reason why the inventory control -- that he
           21   more of an accounting background, but she            21   managed the inventory control clerks, is that
           22   researched and investigated all of the inventory     22   correct?
           23   discrepancies, and she did that by utilizing the     23       A It is a reason, yes.
           24   inventory control clerks.                            24       Q And what was the nature of his
           25       Q So if she told an inventory control            25   relationship with the union?


                                                      Page 98                                                 Page 100
            1              E. TOOHIG                                  1             E. TOOHIG
            2   clerk to do something and the inventory control       2       A The business agent relationship. Any
            3   clerk did not do their job correctly what was         3   discipline you want to issue to a union employee
            4   Maria supposed to do?                                 4   needs to be negotiated and discussed with the
            5       A Bring it to Barry Finkelstein.                  5   union before it was actually issued.
            6   Together they would write up the employee.            6       Q Um, so did union employees report to
            7       Q If Maria was the one directing the              7   any managers other than Barry Finkelstein?
            8   inventory control clerks, or as they are now          8       A There were day shift, night shift, mid
            9   called cycle counters, what was Barry                 9   shift.
           10   Finkelstein's role?                                  10       Q Okay. So he had a relationship with
           11       A Barry was the manager of the -- I              11   the union, correct?
           12   think, a warehouse supervisor. I don't recall his    12       A Yes.
           13   exact title. So he was responsible for overall       13       Q That was one reason. And the
           14   operations in the warehouse including the movement   14   relationship was that he was -- he was the one
           15   of the product and the loading of the cases.         15   designated to deal with the union if there were
           16       Q But the inventory control clerks did           16   any disciplinary issues?
           17   not throw cases, correct?                            17       A He worked along with the union shop
           18       A No.                                            18   stewards and Human Resources and the union
           19       Q Did they tie load or untie load?               19   business agents on any contract or work
           20       A No.                                            20   performance disputes.
           21       Q What was their specific role?                  21       Q Who had been doing that before Barry
           22       A Their specific role as far as I                22   Finkelstein was doing it?
           23   understood is to track down inventory                23       A For the inventory control clerks?
           24   discrepancies and determine if the inventory is      24       Q Yes.
           25   misplaced, misclassified, lost, broken, and then     25       A I don't believe it was getting done,


                                                                                    25 (Pages 97 to 100)
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            1              E. TOOHIG                                  1              E. TOOHIG
            2   but I don't know.                                     2   WMI administrator?
            3       Q Well, somebody had disciplinary                 3       A To the best of my knowledge it was
            4   authority over these employees, correct?              4   mostly over time, or it did not get done.
            5       A Yes.                                            5       Q Well, did anyone ever fill in for
            6       Q Who had disciplinary authority over             6   Tatiana Herdocia when she was pregnant?
            7   these employees before Barry Finkelstein took it      7       A When was Tatiana pregnant?
            8   over?                                                 8       Q So do you know how the process was
            9       A Maria, but she didn't have a                    9   handled for filling in temporary vacancies before
           10   relationship with the union.                         10   Maria became WMI administrator?
           11       Q What do you mean by relationship?              11       A To the best of my recollection it was
           12       A What do you mean?                              12   concerning because Maria would not get necessarily
           13       Q She wasn't on good terms with them?            13   the support or help because there were other
           14           MS. CABRERA: Objection.                      14   prioritizations?
           15       Q Or something else?                             15       A Every manager has their own list of
           16           MS. CABRERA: Objection to the form of        16   things that need to be accomplished in a day.
           17       the question.                                    17       Q Did Maria report to John Wilkinson?
           18       A In my opinion? A relationship is that          18       A To the best of my recollection.
           19   you have a conversation with the union. You have     19            (At this time there was a short
           20   conversations. You debate it. You show what the      20       recess).
           21   details -- you explain what your decision and your   21       Q Who did Barry Finkelstein report to?
           22   rationale was. You have a multiple conversation,     22       A I believe, John Wilkinson.
           23   and then the discipline is issued.                   23       Q Who did Maria report to?
           24       Q Does relationship mean anything else           24       A John Wilkinson.
           25   to you in this particular context?                   25       Q Did John Wilkinson have the authority


                                                    Page 102                                                  Page 104
            1              E. TOOHIG                                  1             E. TOOHIG
            2       A No.                                             2   to tell Barry Finkelstein that he should get some
            3       Q So Maria did not have a relationship            3   help for Maria?
            4   with the union. Barry had a relationship with the     4       A I would assume so.
            5   union?                                                5       Q And there was another -- a third
            6       A Barry had a lot more employees and              6   reason why Maria had supervisory -- did not have
            7   more union shop stewards that reported to him so      7   disciplinary authority over her employees. Do we
            8   he had a relationship. He knew the process            8   need to go back? Are there any other reasons why
            9   better.                                               9   Maria's disciplinary authority other the inventory
           10       Q What was that process?                         10   control clerks was given to Barry Finkelstein?
           11       A What I just outlined for you.                  11       A I think overall it was to use
           12       Q So then the second reason why he               12   effective resources. Barry had skills in moving
           13   became their manager was what?                       13   manual labor and negotiations and conversations
           14       A I said he had the support staff to             14   with the union. Maria had expertise on inventory
           15   help when there was absenteeism or leaves of         15   control, solving those problems, and directing the
           16   absences.                                            16   work that needed to get done.
           17       Q What support staff would be used when          17       Q Anything else?
           18   one of the old inventory control clerks was out?     18       A Not that I can think of.
           19       A Somebody else in the warehouse who may         19       Q So when you say that Barry Finkelstein
           20   have had the skill sets or actually had the          20   had expertise in moving manual labor, for how many
           21   ability to help track down or move cases for them.   21   years had Maria been -- for how many years had
           22       Q Would that have been a warehouse man?          22   Maria had supervisory authority over the inventory
           23       A Potentially yes.                               23   control clerks?
           24       Q So how were temporary vacancies in             24       A I don't know.
           25   Maria's department addressed before they became      25       Q Was it more than ten years?


                                                                                 26 (Pages 101 to 104)
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                                                    Page 105                                                  Page 107
            1             E. TOOHIG                                   1             E. TOOHIG
            2       A I don't know if Maria was with the              2   had an impact on Maria's workload, do you think
            3   company for ten years.                                3   that factors into whether she should have been
            4       Q Were there any problems with Maria's            4   given disciplinary authority over them?
            5   discipline or supervision of her employees?           5       A No.
            6       A Not that I know of.                             6       Q Describe for me how Maria supervised
            7       Q Who is responsible at Southern for              7   the cycle counters once she was made WMI
            8   classifying an individual as either exempt from       8   administrator?
            9   overtime or not exempt from overtime? Who is          9       A She assigned the work. She supervised
           10   responsible there?                                   10   the work to make sure it was done properly.
           11       A That would be a corporate                      11       Q Do you have any personal knowledge of
           12   responsibility.                                      12   what work was assigned by her?
           13       Q When you say corporate --                      13       A Do you mean like the actual tasks?
           14       A Based on the job descriptions that             14       Q Correct.
           15   were created and established.                        15       A I know what tasks were assigned, but I
           16       Q Who would determine that?                      16   don't know any specific details. It is inventory
           17       A Corporate. I don't know.                       17   discrepancies.
           18       Q Someone from the corporate office?             18       Q Can you be more specific?
           19       A Yes. The corporate office would                19       A If the system says there is 100 cases
           20   define the job descriptions. All job descriptions    20   of Tito's and somebody goes to that location and
           21   and any new ones had to be sent to corporate for     21   there are no cases of Tito's then that would be a
           22   approval and going through FLSA standard to make     22   discrepancy. Inventory control clerks would be
           23   sure they qualify for exempt or nonexempt.           23   dispatched to identify why there were 100 cases of
           24       Q Do you have an understanding of what           24   Tito's not in the location that is indicated in
           25   the role was between -- withdrawn. Do you have an    25   this system.


                                                    Page 106                                                  Page 108
            1             E. TOOHIG                                   1              E. TOOHIG
            2   understanding of what the role of the cycle           2       Q That was their job?
            3   counters was when WMI was implemented?                3       A That was a component of that job, yes.
            4       A I'm not sure of the question you are            4       Q So the inventory control clerks were
            5   asking. What the difference was before and after?     5   responsible for did you say Tito's?
            6       Q Yes.                                            6       A That's a vodka. It was just an
            7       A I don't know the nuances.                       7   example. You asked me for an example so that was
            8       Q Are you aware of whether or not, how            8   an example. It is, in fact, fiction.
            9   a cycle counter did their job would have an effect    9       Q So the inventory control clerks, part
           10   on Maria's workload?                                 10   of their job was if there is a discrepancy between
           11       A I don't understand the question. Can           11   what is physically in a location and what is shown
           12   you define that for me?                              12   in the system, to investigate it and find out why
           13       Q Well, did the way in which the cycle           13   there is a discrepancy?
           14   counters do their job affect Maria's workload?       14       A Yes.
           15       A I don't -- I mean, I wouldn't be able          15       Q Did they do anything else?
           16   to answer that question. WMI completely changed      16       A I don't know. If there was a
           17   how everyone's roles were done based on automation   17   discrepancy and they found 100 cases of Jameson in
           18   and the new processes. Maria had a role in that      18   the Tito's location they have to move the Jameson
           19   in defining what inventory control would be doing,   19   and then bring it to that exact location, fix it
           20   so --                                                20   in the system, and continue to find the Tito's.
           21       Q Do you know whether the way in which           21       Q What about Maria's job on a daily
           22   the cycle counters performed their job had an        22   basis? What did that look like as WMI
           23   impact on Maria's workload?                          23   administrator?
           24       A No.                                            24       A I can't answer that.
           25       Q If the way they performed their job            25       Q Did you ever supervise her?


                                                                                 27 (Pages 105 to 108)
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                                                   Page 109                                                  Page 111
            1              E. TOOHIG                                 1              E. TOOHIG
            2       A Directly, no.                                  2        Q But is it fair to say that Barry
            3       Q How often did you see her while she            3   Finkelstein reported to John Wilkinson as did
            4   was WMI administrator?                               4   Maria?
            5       A I couldn't answer that.                        5        A Yes.
            6       Q Did you ever see her performing her            6        Q And can you give me an example of any
            7   job on a daily basis?                                7   other individual at Southern who had ability to
            8       A Not on a daily basis, no.                      8   delegate work to other employees but did not have
            9       Q Did you ever see her performing her            9   disciplinary authority over them?
           10   job at all?                                         10        A I thought I answered that question
           11       A Yes.                                          11   already. Other positions in other areas of the
           12       Q Describe for me what you saw.                 12   company that also had, but I can't give you
           13       A I would be able to describe a person          13   specifics without looking at a list of everyone's
           14   who was at a computer who was looking like they     14   titles.
           15   were busy and assigning work out to Tatiana, Ena,   15        Q You can't think of any as you sit
           16   or to Justin, but I wouldn't be directly            16   here today?
           17   responsible for involved in any of that.            17        A No, that's a long way back.
           18       Q At some point was her office taken            18        Q I am not talking about managing a
           19   away from her?                                      19   function. I am talking about people who had the
           20       A I believe everyone's office was taken         20   ability to delegate work to others but did not
           21   aware and put into a centralized location in the    21   have disciplinary authority over them.
           22   middle of the warehouse for better observation of   22            MS. CABRERA: Objection.
           23   what was going on.                                  23        A Pricing managers gave work assignments
           24       Q Besides Maria whose office was taken          24   to pricing coordinators, but they did not have the
           25   away?                                               25   authority to discipline. Only the director had


                                                   Page 110                                                  Page 112
            1              E. TOOHIG                                 1              E. TOOHIG
            2       A I don't recall who else was in that            2   the authorization to discipline so they directed
            3   area. They demolished it, and created different      3   the work, but they did not have any disciplinary
            4   office space, but there were other people in         4   responsibility.
            5   there.                                               5       Q And why?
            6       Q Who besides Maria?                             6       A Why?
            7       A I can't recall any specific name.              7       Q Yes.
            8       Q Do you know whether there was any              8       A I don't know.
            9   individual besides Maria who lost their office?      9       Q So what work did pricing managers give
           10       A There was definitely other people that        10   pricing coordinators?
           11   lost their office. I just don't know their names.   11       A I don't want to sound snarky. They
           12       Q Do you have any personal knowledge of         12   gave them the pricing. They had to look at and
           13   what the cycle counters were doing?                 13   make pricing of the cases and what we were going
           14       A No, other than conversations that I           14   to be selling it for versus what we paid for it.
           15   had with them.                                      15       Q And who did the pricing coordinators
           16       Q Okay.                                         16   -- who had disciplinary authority over the pricing
           17       A And in what research I did for the            17   coordinators?
           18   other complaint.                                    18       A The director did.
           19       Q Did Maria ever report to Barry                19       Q The director of what?
           20   Finkelstein?                                        20       A I don't remember her actual title.
           21       A I don't know.                                 21   Pricing was one of the components of what she
           22       Q Was she basically coequal with Barry          22   had. She had pricing, compliance, and something
           23   Finkelstein?                                        23   else. I don't remember her exact title.
           24       A I don't know. I have to look at an            24       Q She was in sales?
           25   organizational chart.                               25       A No.


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                                                    Page 113                                                  Page 115
            1              E. TOOHIG                                  1              E. TOOHIG
            2       Q Can you give me any ideas as to what            2       A I gave you another example at Southern
            3   her job title was other than director?                3   with the pricing. I can probably come up with
            4       A I believe it was director of pricing            4   others if I saw the org chart again. There was
            5   and compliance but --                                 5   limited interactions with the union so if somebody
            6       Q So pricing manager. Just to clarify             6   had a relationship and was able to manage the
            7   this, the pricing managers gave out work to           7   labor and was able to do those things we would
            8   pricing coordinators?                                 8   have these relationships stay there. So it
            9       A Yes.                                            9   doesn't matter. It was a direct reporting
           10       Q But did not have disciplinary                  10   relationship so it was easily done. As a matter
           11   authority other them, correct?                       11   of fact, I do it in my current job too.
           12       A Correct.                                       12       Q Besides the pricing corrdinator
           13       Q Who did the pricing manager report to?         13   example can you give me any other examples of
           14       A The pricing director.                          14   instances in which one manager delegated work and
           15       Q And the pricing coordinators also              15   another manager had supervisory authority?
           16   reported to the director?                            16       A Not without seeing an org chart.
           17       A Yes. To the best of my knowledge.              17       Q If I showed you an organizational
           18   Its been a long time. I have to see an org chart.    18   chart will that help you?
           19       Q Can you think of any other                     19       A Potentially.
           20   circumstance at Southern in which a manager who      20       Q I don't have an org chart right now.
           21   was delegating work to the employees had another     21   Did Maria Suarez ever report to Tonisha Durant?
           22   manager who was -- at the same level that was        22   Are you aware of the claims that Maria Suarez is
           23   responsible for those employees' discipline?         23   making in this lawsuit?
           24            MS. CABRERA: Objection.                     24       A No, not really. I believe the lawsuit
           25       A (No answer).                                   25   was filed after I left the company.


                                                    Page 114                                                  Page 116
            1             E. TOOHIG                                   1              E. TOOHIG
            2       Q Do you want me to be clearer because            2        Q Okay. Have you ever seen any
            3   she objected?                                         3   agreements with Southern Wine and Spirits?
            4       A I was actually going to answer.                 4        A Such as what?
            5       Q So you have --                                  5        Q Any agreements.
            6            MS. CABRERA: No, hold on. Well, go           6        A I signed my employment letter. I
            7       ahead. You can ask her the question, but I        7   signed a release letter. I signed a consultancy
            8       won't have you sit here and testify.              8   letter. I signed employment documents.
            9            You have Barry Finkelstein reporting         9        Q Did you ever sign a nondisclosure
           10   to John Wilkinson, correct? And you also have        10   agreement?
           11   Maria Suarez reporting to John Wilkinson, is that    11        A Yes.
           12   fair to say?                                         12        Q Now as the VP of Human Resources --
           13       A Yes.                                           13   withdrawn. In your entire career at Southern how
           14       Q Maria delegated work to certain                14   many E.E.O.C. -- withdrawn. In your entire career
           15   employees but doesn't have disciplinary authority    15   at Southern how many claims of discrimination were
           16   over them?                                           16   made against the company?
           17       A (Nodding).                                     17        A Approximately? I wouldn't have any
           18       Q Correct?                                       18   exact knowledge. I want to say five because I can
           19       A Yes.                                           19   remember two other than the three that you brought
           20       Q And then there is another manager that         20   up here today.
           21   reports to her boss who has disciplinary authority   21        Q Did you have any role in the
           22   over these individuals, correct?                     22   investigation into those claims?
           23       A Yes.                                           23        A Yes.
           24       Q Is there any other circumstance in             24        Q What was your role?
           25   which you saw this at Southern?                      25        A In the other two I was lead


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                                                    Page 117                                                 Page 119
            1             E. TOOHIG                                   1             E. TOOHIG
            2   investigator.                                         2       putting the name on there. Absolutely not.
            3       Q In any of those instances did you ever          3       Q What was the nature of the
            4   come to the conclusion that the complaint was         4   allegation?
            5   founded?                                              5       A It was a sales manager, and the sales
            6       A Through an EEO charge?                          6   representative was complaining that she felt that
            7       Q No. You did your own investigation,             7   she was being treated differently because she was
            8   correct?                                              8   the only female on the team.
            9       A Based off of the question of EEO                9       Q Can you be more specific?
           10   charges being filed.                                 10       A Excluded out of events, felt like she
           11       Q Okay. I am not talking about EEO               11   had different work assignments than other sales
           12   charges being filed. I am talking about any          12   reps were given.
           13   claims of discrimination. Not just EEO charges.      13       Q Did you make any recommendation?
           14       A Even internal complaints?                      14       A Yes.
           15       Q Yes.                                           15       Q What was your recommendation?
           16       A Okay.                                          16       A The sales manager was written up,
           17       Q So how many internal complaints were           17   went to training, and went to antiharassment
           18   there of discrimination while you were at            18   training and a few other trainings to make sure
           19   Southern?                                            19   that there was no bias or anything in the future
           20       A I don't know.                                  20   management.
           21       Q More than 20?                                  21       Q Was anything paid to the employee?
           22       A Less than 20, I think.                         22       A No.
           23       Q Can you give me an approximation?              23       Q Other than that particular instance
           24       A Maybe ten.                                     24   were there any other claims of discrimination
           25       Q And then there would be five EEO               25   against the company that you thought were valid?


                                                    Page 118                                                 Page 120
            1              E. TOOHIG                                  1             E. TOOHIG
            2   charges in addition to those ten?                     2       A No.
            3       A No. Five EEO charges would be part of           3       Q Do you believe that Maria was
            4   those ten.                                            4   retaliated against because the women in her
            5       Q Okay. And was part of your role                 5   department sued the company?
            6   determining whether or not the complaints of          6       A No.
            7   discrimination were valid or not?                     7       Q What is that opinion based upon?
            8       A Yes.                                            8       A I believe Maria did her responsibility
            9       Q Did you find any valid claims of                9   by identifying an issue that we immediately
           10   discrimination when you were at Southern?            10   corrected. I don't believe it was Maria's fault
           11       A I am thinking about the cases. Yes.            11   that Ena and Tatiana sued the company.
           12       Q Which one?                                     12       Q How was the issue corrected?
           13       A Is that relevant to this? Can I give           13       A It was a clerical error. The error
           14   names?                                               14   was corrected in the system. Justin was
           15       Q Absolutely. If she is going to say             15   classified the same way as Ena and Tatiana.
           16   that she expressed an opinion that the company was   16       Q Other than the instances that were
           17   discriminating against someone and that the          17   brought directly to your attention, have you ever
           18   complaint was founded, that's relevant.              18   seen discrimination at Southern based upon race,
           19           MS. CABRERA: Not the name of the             19   or gender, or national origin?
           20       person, no. The name of the person is not        20       A No.
           21       relevant. If you want to talk about the          21       Q If you look at Plaintiff's Exhibit 13
           22       circumstances and so on and so forth I think     22   I don't know if you have it in front of you. If
           23       that's fine, but we are not going to violate     23   you go to page 7 which is SGWS 001012 this policy
           24       the privacy of perhaps an employee who is        24   on retaliation, I would like you to read it. I
           25       not subject or a party to this lawsuit by        25   will have a question or two. You can read it to


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                                                    Page 121                                                  Page 123
            1              E. TOOHIG                                  1             E. TOOHIG
            2   yourself.                                             2   Maria have been an individual who would have
            3        A Okay.                                          3   interviewed them?
            4        Q Why is it important to have this               4       A In my opinion, yes, but I don't know
            5   policy?                                               5   what happened.
            6        A You need to be able to file                    6       Q And do you know whether she had any
            7   comfortable expressions, their views, and if they     7   say in who was hired for a particular -- for a
            8   feel like they are not being treated respectfully     8   cycle counter position?
            9   for it to be investigated and either rectified or     9       A I don't recall.
           10   explanations.                                        10       Q You don't recall or you don't know?
           11        Q It talks about the open door policy           11       A I don't know who was hired, when they
           12   here. Are you familiar with the open door policy?    12   were hired, what the dates are.
           13        A Yes.                                          13       Q Were any cycle counters fired?
           14        Q Can you locate it in this handbook?           14       A I don't know.
           15   It is on page 54 which is -- SGWS 001059. Is this    15       Q Were any cycle counters disciplined
           16   the open door policy that the antiretaliation        16   for any reason?
           17   policy is referring to?                              17       A I don't know.
           18        A Yes.                                          18       Q Did Maria have any ability to -- did
           19        Q So do you have any personal                   19   she have any say in whether cycle counters should
           20   understanding as to or knowledge as to Maria's       20   be disciplined or not?
           21   supervisory responsibilities after she became WMI    21       A If they are going be disciplined for
           22   administrator?                                       22   performance related matters she would have to be
           23        A I'm not sure what you mean by personal        23   consulted or they wouldn't know they were not
           24   knowledge. Do I know overall what her job            24   doing that job.
           25   description said, or what her job responsibilities   25       Q Is the answer --


                                                    Page 122                                                  Page 124
            1            E. TOOHIG                                    1             E. TOOHIG
            2   were, or did I actively manage her?                   2       A If they were disciplined I would
            3       Q Do you know what her job                        3   sayyes, she would have a say.
            4   responsibilities were as a supervisor?                4       Q And did Southern take her
            5       A I understand it to be that she would            5   recommendations into account?
            6   look around, find the inventory discrepancies that    6       A I don't know.
            7   were notified in WMI, and she would assign the        7       Q I am almost done. So let's look at
            8   work to the inventory control clerks for              8   Exhibit 12 and if you can please go to SGWS 00265.
            9   resolution. She would make sure that it got           9   If you look at the bottom it says here during an
           10   resolved so we can ship out the cases.               10   audit by our outside auditor Maria was absent, and
           11       Q Employment decisions that were made            11   one of her subordinates had her accounts audited.
           12   with regard to the cycle counters. So after Maria    12   The accounts were not accurate and they needed to
           13   became WMI administrator who made these employment   13   be corrected by the IC manager and the auditor.
           14   decisions?                                           14   Do you know who the IC manager was?
           15       A Can you define employment decisions?           15       A No.
           16       Q Well, who hired cycle counters?                16       Q When Maria was informed of this she
           17       A I don't know.                                  17   insisted that her counter was accurate and she not
           18       Q Was Maria involved in the hiring of            18   be disciplined.
           19   any cycle counters when she became WMI               19       A Maria had no proof of accuracy and did
           20   administrator?                                       20   not want to have her cycle counter disciplined.
           21       A I don't know if a new cycle counter            21   She did not want to hold the cycle counter
           22   was hired from the established team so I don't       22   accountable.
           23   know.                                                23       Q Who was this cycle counter?
           24       Q Do you know what the procedure would           24       A I don't know.
           25   have been if a cycle counter was needed would        25       Q Was this cycle counter, in fact,


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                                                 Page 125                                                         Page 127
            1             E. TOOHIG                          1               CERTIFICATION
            2   disciplined?                                 2
            3       A I don't know.                          3
            4           MR. MOSER: I have no further         4       I, David P. Yuni, a Shorthand Reporter
            5       questions.                               5   and Notary Public in and for the State of New
            6            (Time noted: 2:20 p.m.)             6   York, do hereby certify:
            7                                                7       That the testimony of said witness was
            8         _________________________________      8   held before me at the aforesaid time and place.
            9            ELIZABETH TOOHIG                    9       That said witness was duly sworn before the
           10                                               10   commencement of the testimony and that the
           11   Subscribed and sworn to before me on        11   testimony was taken stenographically by me and
           12   This ____ day of _____________, 2022.       12   is a true and accurate transcript of my
           13                                               13   stenographic notes.
           14   ____________________________________        14       I further certify that I am not related
           15   Notary Public                               15   to any of the parties to the action by blood
           16                                               16   or marriage and that I am in no way
           17                                               17   interested in the outcome of this Matter.
           18                                               18      IN WITNESS WHEREOF, I have hereunto set my
           19                                               19   hand this 3rd day of November 2022.
           20                                               20
           21                                               21
           22                                               22
           23                                               23
           24                                               24      ___________________________________
           25                                               25            David P. Yuni


                                                 Page 126                                                         Page 128
            1          EXHIBITS                              1   ERRATA SHEET FOR: ELIZABETH TOOHIG
            2                                                2     ELIZABETH TOOHIG, being duly sworn, deposes and
            3   PLAINTIFF'S   DESCRIPTION         PAGE       3     says: I have reviewed the transcript of my
            4                                                4     proceeding taken on 10/25/2022. The following
            5    8       HANDBOOK           18               5     changes are necessary to correct my testimony.
            6                                                6   ______________________________________________
            7    9     CONFIDENTIAL LEASE AND 23             7   PAGE LINE          CHANGE                  REASON
            8          SEVERANCE AGREEMENT                   8   ----|----|---------------------|--------------
            9    10       COMPLAINT        41                9   ----|----|---------------------|--------------
           10    11     FEMALE APPLICANT SHEET 49           10   ----|----|---------------------|--------------
           11    12   EMPLOYER'S POSITION STATEMENT 52      11   ----|----|---------------------|--------------
           12    13      EMPLOYEE HANDBOOK      76          12   ----|----|---------------------|--------------
           13                                               13   ----|----|---------------------|--------------
           14                                               14   ----|----|---------------------|--------------
           15                                               15   ----|----|---------------------|--------------
           16                                               16   ----|----|---------------------|--------------
           17                                               17   ----|----|---------------------|--------------
           18                                               18   ----|----|---------------------|--------------
           19                                               19   ----|----|---------------------|--------------
           20                                               20   ----|----|---------------------|--------------
           21                                               21        Witness Signature:_____________________
           22                                               22   Subscribed and sworn to, before me
           23                                               23   this ___ day of __________, 20 ___.
           24                                               24   ____________________              ___________________
           25                                               25   (NOTARY PUBLIC)                  MY COMMISSION EXPIRES


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                   A          124:19            85:24             17:8 27:24         47:17 51:5
           a.m (1)            accurate (10)     administrato...     28:18            57:2,6 60:22
           1:12               70:5,20 71:10     10:16 28:22,23    AGREED (3)         69:23 71:20
           abilities (1)        75:9 88:17        29:5 62:25      3:2,8,13           73:4,10 79:4
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